      Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 1 of 54




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS




 ESTADOS UNIDOS MEXICANOS,
                Plaintiff,

vs.                                     Civil Action No. 1:21-CV-11269-FDS

 SMITH & WESSON BRANDS, INC., et al.,
               Defendants.




           PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
              TO DEFENDANTS’ JOINT MOTION TO DISMISS
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 2 of 54




                                                   TABLE OF CONTENTS


INTRODUCTION AND BACKGROUND ....................................................................................1

ARGUMENT ...................................................................................................................................5

I.        THE SUBSTANTIVE LAW OF MEXICO APPLIES TO THE
          GOVERNMENT’S CLAIMS. .............................................................................................5

II.       PLCAA DOES NOT PRECLUDE THE GOVERNMENT’S CLAIMS
          BECAUSE IT IS INJURED IN MEXICO BY GUN MISUSE IN
          MEXICO. .............................................................................................................................7

          A.         PLCAA Does Not Preclude Claims When the Gun Misuse Is
                     “Criminal or Unlawful” Under Foreign Law. ..........................................................9

          B.         PLCAA Does Not Preclude Claims of Foreign Governments...............................13

          C.         PLCAA Does Not Preclude Claims When the Injury Occurs
                     Abroad....................................................................................................................14

          D.         Defendants’ “Focus” Analysis Is Wrong and Irrelevant........................................17

                     1.         Defendants Are Wrong About the Relevant “Focus.” ...............................17

                     2.         Regardless of “Focus,” § 7903(5)(A) Refers to U.S.
                                Domestic Injury and Law...........................................................................19

III.      THE GOVERNMENT’S CLAIMS ARE WITHIN PLCAA’S
          STATUTORY EXCEPTIONS. .........................................................................................20

          A.         The Government’s Action Is Within the Predicate-Violation
                     Exception. ..............................................................................................................20

                     1.         The Complaint Plausibly Alleges that Defendants
                                Knowingly Violated Firearms-Specific Statutes. ......................................22

                     2.         The Complaint Plausibly Alleges that Defendants Violated
                                Unfair Trade Practice Statutes. ..................................................................25

          B.         The Government’s Claims Are Within the Negligence Per Se
                     Exception. ..............................................................................................................28

IV.       THE COMPLAINT PLAUSIBLY ALLEGES THAT DEFENDANTS’
          WRONGFUL CONDUCT CAUSED THE GOVERNMENT’S
          INJURIES. .........................................................................................................................29




                                                                       i
           Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 3 of 54




          A.         The Complaint Plausibly Alleges Causation Sufficient to Confer
                     Article III Standing. ...............................................................................................30

          B.         Defendants’ Proximate-Cause Arguments Are Meritless. .....................................33

                     1.         The Number of Steps in the Causal Chain Does Not
                                Preclude Proximate Cause. ........................................................................35

                     2.         Foreseeable Criminal Acts Are Not a Superseding Cause.........................36

                     3.         The Government’s Injuries Are Not Solely “Derivative.”.........................38

          C.         The Question of How to Apportion Damages Is Not Grounds for
                     Dismissal. ...............................................................................................................39

V.        THE COMPLAINT ADEQUATELY ALLEGES THAT DEFENDANTS
          VIOLATED A LEGAL DUTY TO MEXICO. .................................................................40

VI.       THE COMPLAINT ADEQUATELY ALLEGES THAT DEFENDANTS
          CREATED A PUBLIC NUISANCE. ................................................................................42

VII.      DEFENDANTS’ PROFFERED PRINCIPLES OF INTERNATIONAL
          AND CONSTITUTIONAL LAW DO NOT BAR THE
          GOVERNMENT’S CLAIMS. ...........................................................................................43

CONCLUSION ..............................................................................................................................45




                                                                      ii
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 4 of 54




                                                   TABLE OF AUTHORITIES

Cases
Abramski v. United States, 573 U.S. 169 (2014) .......................................................................... 23
Adamian v. Three Sons, Inc., 233 N.E.2d 18 (Mass. 1968) .......................................................... 28
Adams v. Watson, 10 F.3d 915 (1st Cir. 1993) ............................................................................. 32
Bennett v. Spear, 520 U.S. 154 (1997) ......................................................................................... 30
Block v. Meese, 793 F.2d 1303 (D.C. Cir. 1986) .................................................................... 31, 32
Bond v. United States, 134 S. Ct. 2077 (2014) ............................................................................. 21
Boston Alliance of Gay, Lesbian, Bisexual and Transgender Youth (BAGLY)
  v. U.S. Dept. of Health and Human Services, No. 20-11297-PBS,
  2021 WL 3667760 (D. Mass. Aug. 18, 2021) .......................................................................... 32
Camden Cnty. Bd. of Chosen Freeholders v. Beretta U.S.A. Corp.,
  123 F. Supp. 2d 245 (D. N.J. 2000) .................................................................................... 32, 36
Carney v. Bereault, 204 N.E. 2d 448 (Mass. 1965) ...................................................................... 41
Chiapperini v. Gander Mountain Co., Inc., 13 N.Y.S.3d 777 (N.Y. Sup. Ct. 2014) ................... 22
Cipollone v. Liggett Group, 505 U.S. 504 (1992) ........................................................................ 21
City and County of San Francisco v. Purdue Pharma L.P., 491 F. Supp. 3d 610 (N.D. Cal. 2020)
  ............................................................................................................................................. 33, 37
City of Boston v. Purdue Pharm, L.P., No. 1884CV02860, 2020 WL 977056 (Mass. Super. Jan.
  29, 2020) ............................................................................................................................. 38, 43
City of Boston v. Smith & Wesson Corp., No. 199902590, 2000 WL 1473568 (Mass. Sup. Ct.
  July 13, 2000)..................................................................................................................... passim
City of Chicago v. Purdue Pharma L.P., No. 14 CV 4361, 2021 WL 1208971 (N.D. Ill. Mar. 31,
  2021) ................................................................................................................................... 34, 36
City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136 (Ohio 2002) ........................... passim
City of Gary v. Smith & Wesson Corp., 126 N.E.3d 813 (Ind. App. 2019) ............................ 25, 36
City of Gary v. Smith & Wesson, 801 N.E.2d 1222 (Ind. 2003) ............................................ passim
City of New York v. Beretta U.S.A. Corp., 524 F.3d 384 (2d Cir. 2008) ................................ 19, 27
Clean Water Action v. Searles Auto Recycling Corp., 268 F. Supp 3d 276 (D. Mass. 2017) ...... 32
Cohen v. McDonnell Douglas Corp., 450 N.E.2d 581 (Mass. 1983) ............................................. 6
Com. v. Carlson, 447 Mass. 79 (2006) ......................................................................................... 35
Coxie v. Academy, Ltd., No. 2018-CP-42-04297 (S.C. Ct. Cmmn. Pl. Jul. 29, 2019) ................. 22
Curran v. City of Boston, 777 F. Supp. 116 (D. Mass. 1991)....................................................... 34




                                                                         iii
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 5 of 54




Dantzler, Inc. v. Empresas Berrios Inventory and Operations, Inc., 958 F. 3d 38
  (1st Cir. 2020) ........................................................................................................................... 31
Davis v. Protection One Alarm Monitoring, Inc., 456 F. Supp. 2d 243 (D. Mass. 2006) ...... 34, 37
Davis v. United States, 670 F. 3d 48 (1st Cir. 2012) .................................................................... 37
Dept. of Commerce v. New York, 139 S. Ct. 2551, 2565 (2019) .................................................. 31
Direct Sales Co. Inc. v. United States, 319 U.S. 703 (1943) ........................................................ 24
District of Columbia v. Heller, 554 U.S. 570 (2008).................................................................... 44
Doull v. Foster, 163 N.E. 3d 976 (Mass. 2011) ...................................................................... 34, 40
EEOC v. Arabian American Oil Co., 499 U.S. 244 (1991) ................................................ 8, 13, 16
Englund v. World Pawn Exch., 2017 Ore. Cir. LEXIS 3 (Jun. 30, 2017) .................................... 22
Evans v. Lorillard Tobacco Co., No. CIV. A. 04-2840A 2007 WL 796175 (Mass. Sup. Ct. Feb.
  7, 2007) ..................................................................................................................................... 43
F. Hoffman LaRoche Ltd. v. Empagran S.A., 542 U.S. 155 (2004)................................................ 9
F. Hoffmann-La Roche Ltd. v. Empagran S.A., 542 U.S. 155 (2004) ................................ 4, 16, 20
Foisie v. Worcester Polytechnic Inst., 967 F.3d 27 (1st Cir. 2020) ................................................ 6
Forrestal v. Magendantz, 848 F.2d 303 (1st Cir. 1988) ............................................................... 33
Fox v. L&J Supply, LLC, No. 2014-24619, 1 n.1 (Pa. Ct. Cmmn. Pl. Nov. 26, 2018)................. 22
Ganim v. Smith & Wesson Corp., 780 A.2d 98 (Conn. 2001) ............................................... passim
Goldstein v. Earnest, No. 37-2020-00016638-CU-PO-CTL (Ca. Super. Ct. Jul. 2, 2021) ... 22, 23,
  26, 38
Gregory v. Ashcroft, 501 U.S. 452 (1991) .................................................................................... 21
Ileto v. Glock, Inc., 565 F.3d 1126, 1138 (9th Cir. 2009) ...................................................... passim
In re Picard, Trustee for Liquidation of Bernard L. Madoff Investment Securities LLC, 917 F.3d
   85 (2d Cir. 2019) ....................................................................................................................... 18
In re: Juul Labs, Inc., Marketing Sales Practices, and Products Liability Litig., 497 F. Supp. 3d.
   552 (N.D. Cal. 2020)................................................................................................................. 43
James v. Arms Technology, Inc., 820 A. 2d 27 (N.J. Super. 2003) .............................................. 34
Jane Doe No. 1 v. Backpage.com, LLC, 817 F.3d 12 (1st Cir. 2016) ........................................... 34
Jupin v. Kask, 849 N.E. 2d 829 (Mass. 2006) ........................................................................ 37, 43
Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108 (2013) ........................................ 8, 14, 16, 17
Kolbe v. Hogan, 849 F.3d 114 (4th Cir. 2017) ............................................................................ 44
Leavitt v. Brockton Hosp., Inc., 907 N.E. 2d 213 (Mass. 2009) ................................................... 34
Loucks v. Standard Oil Co. of New York, 120 N.E. 198 (N.Y. 1918) ............................................ 6
Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992) ................................................................... 30


                                                                        iv
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 6 of 54




Massachusetts v. E.P.A., 549 U.S. 497 (2007) ............................................................................. 32
Massachusetts v. U.S. Dep’t of Health and Human Services, 923 F. 3d 209 (1st Cir. 2019) ....... 30
Microsoft Corp. v. AT & T Corp., 550 U.S. 437 (2007) ................................................................. 8
Midland Asphalt Corp. v. United States, 489 U.S. 794 (1989)....................................................... 7
Monroe v. Medtronic, Inc., 511 F. Supp. 3d 26 (D. Mass. 2021) ............................................... 3, 6
Morrison v. Nat’l Australia Bank Ltd., 561 U.S. 247 (2010) ........................................ 8, 9, 13, 15
NAACP v. AcuSport, Inc., 271 F. Supp. 2d 435 (E.D.N.Y. 2003) .................................................. 3
National Prescription Opiate Litig., MDL No. 2804, 2018 WL 6628898 (N.D. Ohio Dec. 19,
  2018) ......................................................................................................................................... 42
Norberg v. Badger Guns, Inc., Case No. 10-cv-20655 (Wis. Cir. Ct. Jun. 9, 2011) .................... 22
Parsons v. Colt’s Manufacturing Company, LLC, No. 2:19-cv-01189-APG-April 10, 2020)..... 23
People v. Sturm, Ruger & Co., 309 A.D.2d 91 (N.Y. App. Div. 2003) ....................................... 36
Practico v. Portland Terminal Co., 783 F.2d 255 (1st Cir. 1985) ................................................ 28
Prescott v. Slide Fire Solutions, LP, 410 F. Supp. 3d 1123 (D. Nev. 2019) .......................... 22, 26
Prime Int’l Trading, Ltd. v. BP P.L.C., 937 F.3d 94 (2d Cir. 2019)............................................. 18
Republic of Venezuela v. Philip Morris Cos., 827 So. 2d 339 (Fla. Dist. Ct. App. 2002)............ 41
Rhode Island v. Atlantic Richfield Co., 357 F. Supp. 3d 129 (D.R.I. 2013) ................................. 39
RJR Nabisco, Inc. v. European Community, 579 U.S. 325 (2016) ........................................ passim
Save Our Heritage, Inc. v. F.A.A., 269 F.3d 49 (1st Cir. 2001) ................................................... 31
Simon v. E. Ky Welfare Rights Org., 426 U.S. 26 (1976) ....................................................... 31, 32
Small v. United States, 544 U.S. 385 (2005) ......................................................................... passim
Smith & Wesson Corp. v. City of Gary, 875 N.E.2d 422 (Ind. App. 2007) .................................. 22
Smith v. United States, 507 U.S. 197 (1993) ................................................................................ 10
Sosa v. Alvarez-Machain, 542 U.S. 692 (2004) ........................................................................ 6, 16
Soto v. Bushmaster Firearms Int’l, LLC, 202 A.3d 262 (Conn. 2019)......................... 4, 21, 22, 26
Spinozzi v. ITT Sheraton Corp., 174 F.3d 842 (7th Cir. 1999) ....................................................... 7
Staples v. United States, 511 U.S. 600 (1994) .............................................................................. 23
State of Sao Paulo of Federative Republic of Brazil v. American Tobacco Co., 919 A.2d 1116
  (Del. 2007) ................................................................................................................................ 41
Sterling Suffolk Racecourse, LLC v. Wynn Resorts, Ltd., 990 F.3d 31 (1st Cir. 2021) ................ 39
Szulik v. State Street Bank and Trust Co., 935 F. Supp. 2d 240 (D. Mass. 2013) ........................ 34
Tobin v. Norwood Country Club, Inc., 661 N.E.2d 627 (Mass. 1996) ......................................... 37




                                                                         v
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 7 of 54




Town of Plainville v. Almost Home Animal Rescue & Shelter, Inc., 187 A.3d 1174 (Conn. App.
  Ct. 2018) ................................................................................................................................... 28
United States v. Bewig, 354 F.3d 731 (8th Cir. 2003) .................................................................. 24
United States v. Carney, 387 F.3d 436 (6th Cir. 2004) ................................................................ 23
United States v. Greeno, 679 F.3d 510 (6th Cir. 2012) ................................................................ 44
United States v. Palmer, 3 Wheat. 610 (1818) ............................................................................. 14
United States v. Standard Oil of Cal., 332 U.S. 301 (1947) ......................................................... 39
United States v. Students Challenging Regulatory Agency Procedures,
  412 U.S. 669 (1973) ........................................................................................................... 30, 31
United States v. Wyche, 2003 U.S. App. LEXIS 28632 (5th Cir. 2003) ...................................... 24
Watkins v. Omni Life Sci., Inc., 692 F. Supp. 2d 170 (D. Mass. 2010) .......................................... 6
WesternGeco LLC v. ION Geophysical Corp., 138 S. Ct. 2129 (2018) ........................... 17, 18, 19
White v. Smith & Wesson, 97 F. Supp. 2d 816 (N.D. Ohio 2000) ................................................ 33
Williams v. Beemiller, Inc., 100 A.D.3d 143 (N.Y. App. Div. 2012) ........................................... 22
Statutes
15 U.S.C. § 7901 .................................................................................................................... passim
15 U.S.C. § 7902 ................................................................................................................. 7, 17, 18
15 U.S.C. § 7903 .................................................................................................................... passim
18 U.S.C. § 922 ................................................................................................................... 9, 22, 23
28 U.S.C. § 2778 ........................................................................................................................... 12
Conn. Gen. Stat. §§ 42-110 et seq. ............................................................................................... 26
Other Authorities
151 Cong. Rec. S9,061 (daily ed. July 27, 2005) ......................................................................... 19
151 Cong. Rec. S9061 (Jul. 27, 2005) ............................................................................................ 7
ATF Rul. 82-8 ............................................................................................................................... 23
Executive Order 13637 ................................................................................................................. 12
Fed. R. Civ. P. 44.1 ......................................................................................................................... 5
Franklin A. Gevurtz, Building a Wall Against Private Actions for Overseas Injuries: The Impact
  of RJR Nabisco v. European Community, 23 U.C. Davis J. Int’l L. & Pol’y 1 (2016) ........... 17
International Traffic in Arms Regulations, 22 C.F.R. §§ 121 et seq. ........................................... 12
N. Korea Enacts Rules on Regulating Firearms, Korea Times/Yonhap, 6 August 2012 ............. 11
National Report of Eritrea on its Implementation of the United Nations Programme of Action to
  Prevent, Combat and Eradicate the Illicit Trade in Small Arms and Light Weapons in All Its
  Aspects (Jan. 1, 2010) ............................................................................................................... 11


                                                                       vi
           Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 8 of 54




Restatement (Second) of Conflict of Laws § 90 (1971) ................................................................. 6
Restatement (Second) of Torts § 433B ......................................................................................... 39
Restatement (Second) of Torts § 448............................................................................................ 37
Symeon C. Symeonides, Choice of Law in Cross-Border Torts: Why Plaintiffs Win and Should,
  61 Hastings L.J. 337 (2009) ........................................................................................................ 7
Symeon C. Symeonides, Codifying Choice of Law Around the World: An International
  Comparative Analysis (Oxford U. Press 2014) .......................................................................... 7
Tim Weiner and Ginger Thompson, U.S. Guns Smuggled Into Mexico Feed Drug War, N.Y.
  Times (May 19, 2001), https://www.nytimes.com/2001/05/19/world/us-guns-smuggled-into-
  mexico-feed-drug-war.html ...................................................................................................... 13
U.S. Department of Justice, Gun Violence Reduction: National Integrated Firearms Violence
  Reduction Strategy (Jan. 18, 2001) ........................................................................................... 25




                                                                  vii
           Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 9 of 54




                            INTRODUCTION AND BACKGROUND

          Defendants design and manufacture weapons of war,1 then market and sell them in ways

they know routinely arm the drug cartels in Mexico.2 They make and sell .50 caliber sniper rifles

that can shoot down helicopters and penetrate lightly armored vehicles and bullet-proof glass.3

They design semi-automatic rifles to be easily convertible into fully automatic machineguns.4

They know that their distributors and dealers sell these military weapons in bulk, with no

restrictions—clearly intended for traffickers.5 They know that the cartels use these weapons to

cause devastating injuries to the Government of Mexico (the “Government”) and its citizens.6

They defy calls from the United States to monitor and discipline their distribution systems,7 and

challenge law enforcement efforts to stop trafficking to Mexico.8 They violate the tort law and

import statutes of Mexico, U.S. federal statutes, U.S. state business practices laws, and common

law standards of care.

          Defendants’ motion to dismiss the Complaint seeks impunity for this conduct. They deny

that they help move their guns into Mexico, and they contend that, even if they do, the Protection

of Lawful Commerce in Arms Act (“PLCAA”) precludes this lawsuit.9 They are wrong on the



1
    Complaint, ECF No. 1 (“Compl.”) ¶¶ 278-332.
2
    Id. ¶ 3.
3
    Id. ¶¶ 292-99.
4
    Id. ¶¶ 300-13.
5
    Id. ¶¶ 115-277, 230.
6
    Id. ¶ 336, 434-505.
7
    Id. ¶¶ 89-96, 372.
8
    Id. ¶¶ 140-42.
9
 Joint Memorandum of Law in Support of Defendants’ Motions to Dismiss, ECF No. 67 (“Jnt.
Mem.”).


                                                 1
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 10 of 54




facts—the Complaint plausibly alleges that Defendants “actively facilitate[] the unlawful

trafficking of their guns to drug cartels and other criminals in Mexico.”10 And they are wrong on

the law—PLCAA precludes only specifically identified lawsuits asserting injuries that occur in

the United States resulting from the misuse of guns that is criminal under U.S. law, and in any

event does not shield gun companies where, as here, they knowingly violate domestic statutes

applicable to gun sales.

          Defendants’ blithe (and, on this motion, improper) denial of the Complaint’s allegations

echoes the very head-in-the-sand approach that characterizes their gun sales. The Complaint

explains the sales practices that put guns into the cartels’ hands, including straw purchases, bulk

sales, and repeat sales.11 More than 80 paragraphs of the Complaint detail Defendants’ notice and

facilitation of these practices—they are instrumental in trafficking their guns into Mexico.12

Defendants magnify their distribution policies’ menace by designing and marketing their guns as

military weapons that can be used by unauthorized persons and without being traceable.13 They

do so “heedless of the shattering consequences to the Government and its citizens.”14

          The U.S. Department of Justice told Defendants to take readily available measures to

reduce trafficking within the United States.15 Judge Weinstein urged Defendants to take similar




10
     Compl. ¶ 1.
11
     Id. ¶¶ 247, 250, 254-55, 262-63, 266-67, 272-80, 331, 335.
12
     Id. ¶¶ 122-204.
13
     Id. ¶¶ 363-66.
14
     Id. ¶ 16.
15
     Id. ¶¶ 89-92, 372.


                                                  2
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 11 of 54




measures, concluding that many of these Defendants “have failed to take minimum circumspect

steps to limit leakage of their guns into criminal hands.”16 They have refused all entreaties.17

          Far from presenting “a clash of national values,”18 this lawsuit reflects the coordination

of, and mutual respect for, each sovereign’s rights, values, and responsibilities within its own

jurisdiction. First, the choice-of-law rules of Massachusetts provide that the substantive law of

Mexico applies to the Government’s claims. “[T]ort claims are governed by the law of the state

where the injury occurred unless another state has a more significant relationship to the

underlying cause of action.”19 The gun misuse and resulting injuries occurred in Mexico, so the

United States does not have a “more significant” relationship to these claims.

          Second, by its terms PLCAA does not bar these claims. It precludes certain lawsuits for

the “[damages] resulting from”—the “harm caused by”—the “criminal or unlawful misuse” of

guns.20 The Supreme Court has held that, in similar statutes, the terms “injury”21 and “criminal

conviction”22 must be construed to mean injury in the United States and conviction under U.S.

law unless Congress expressly provides otherwise. Those constructions are required because

Congress is presumed to legislate with only domestic concerns in mind, and because

interpretations that would reach injuries abroad or gun misuse that is criminal under foreign law

would risk “upsetting a balance of competing considerations that [foreign sovereigns’] own




16
     Id. ¶ 374 (quoting NAACP v. AcuSport, Inc., 271 F. Supp. 2d 435, 453 (E.D.N.Y. 2003)).
17
     Compl. ¶¶ 89-96, 372.
18
     Jnt. Mem. 3.
19
     Monroe v. Medtronic, Inc., 511 F. Supp. 3d 26, 33 (D. Mass. 2021).
20
     15 U.S.C. § 7903(5)(A); id. § 7901(a)(3), (5), (6).
21
     RJR Nabisco, Inc. v. European Community, 579 U.S. 325, 346 (2016).
22
     Small v. United States, 544 U.S. 385, 389 (2005).


                                                   3
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 12 of 54




domestic … laws embody”23 and “offend[ing] the sovereign interests of foreign nations.”24

PLCAA does not preclude a claim that the substantive law of Mexico provides to the

Government of Mexico, for injuries incurred in Mexico, resulting from gun misuse in Mexico.

          Third, even if PLCAA reached these claims, it would not support dismissing them.

PLCAA provides no protections where, as here, Defendants knowingly violate U.S. federal and

state statutes applicable to the sale or marketing of guns.25 The Complaint alleges in detail that

Defendants knowingly violate, either directly or as abettors and conspirators, federal statutes on

gun exports,26 straw purchases,27 and the bans on selling machineguns28 and selling without a

license,29 as well as state statutes prohibiting the marketing and promotion of military-style

weapons to consumers.30

          Fourth, Defendants’ arguments on proximate cause, including those challenging Article

III standing, again disregard rather than overcome the Complaint’s plausible allegations. It

alleges that Defendants foresee—indeed, they know and intend—that hundreds of thousands of

their guns annually are trafficked into Mexico;31 they could stem the unlawful tide of crime guns

into Mexico but instead choose to facilitate it;32 and the result is systematic, repeated, and


23
  RJR Nabisco, 579 U.S. at 347 (quoting F. Hoffmann-La Roche Ltd. v. Empagran S.A., 542
U.S. 155, 167 (2004)).
24
     Id. at 2107 (citation omitted).
25
     15 U.S.C. § 7903(5)(A)(iii).
26
     Compl. ¶¶ 63-65.
27
     Id. ¶ 69, 248-50.
28
     Id. ¶ 68, 70-72, 301-13.
29
     Id. ¶ 67.
30
  See Soto v. Bushmaster Firearms Int’l, LLC, 202 A.3d 262 (Conn. 2019), cert denied sub nom.
Remington Arms Co., LLC v. Soto, 140 S. Ct. 513 (2019); see, e.g., Compl. ¶¶ 73-76, 342-52.
31
     See, e.g., Compl. ¶¶ 377-395.
32
     See, e.g., Compl. ¶¶ 116, 115-226, 227, 247, 447-74.

                                                  4
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 13 of 54




massive injuries to the Government, including the murder of its citizens, employees, judges,

police, and soldiers.33

          Defendants’ grab-bag motion asserts there is a “diplomatic dispute” between the United

States and the Government of Mexico over gun trafficking.34 But even the press release they cite

reflects mutual concern about, and joint efforts to stop, the trafficking. The missing element in

efforts to stop the trafficking is reasonable and responsible conduct by the private commercial

entities that are the Defendants in this lawsuit.

          The tort law of Mexico holds Defendants accountable and requires them to stop flooding

crime guns into Mexico. Massachusetts’s choice-of-law rule selects Mexico’s tort law, and

PLCAA does not bar the claims because the injury and gun misuse occur in Mexico. The result

would not be any different under Massachusetts’ substantive law, and PLCAA again would not

bar the claims because Defendants violate U.S. federal and state statutes applicable to gun sales.

The Court should deny Defendants’ motion.


                                            ARGUMENT

I.        THE SUBSTANTIVE LAW OF MEXICO APPLIES TO THE GOVERNMENT’S
          CLAIMS.

          The Complaint alleges that the Government’s claims are governed by “the substantive

law of Mexico, including its tort law.”35 Defendants have not provided any choice-of-law

analysis to the contrary. For good reason: the principles and result are clear.




33
     Compl. ¶ 15.
34
     Jnt. Mem. 4.
35
     Compl. ¶ 21; see also id. ¶¶ 22, 29, 60-62; Fed. R. Civ. P. 44.1.


                                                    5
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 14 of 54




          In diversity cases such as this, courts “employ the choice-of-law principles of the forum

state (here, Massachusetts).”36 Those principles provide that “tort claims are governed by the law

of the state where the injury occurred unless another state has a more significant relationship to

the underlying cause of action.”37 The United States does not have any interest here superior to

Mexico’s. Defendants arm the cartels in Mexico;38 the gun misuse and injuries occur in Mexico;

regulating the flow of firearms into a jurisdiction is a traditional governmental function; Mexico

regulates gun sales within Mexico; and the plaintiff is the Government of Mexico.39

          The Supreme Court has twice concluded that “a court will ordinarily ‘apply foreign law

to determine the tortfeasor’s liability’ to ‘a plaintiff injured in a foreign country.’”40 As examples

of this “default rule,” the Court points to cases in which artillery manufactured in the United

States exploded in Cambodia, and a Howitzer negligently designed in the United States caused

death in Germany.41 The rationale is straightforward: the law of the place of injury can be




36
     Foisie v. Worcester Polytechnic Inst., 967 F.3d 27, 41 (1st Cir. 2020).
37
  Monroe v. Medtronic, Inc., 511 F. Supp. 3d 26, 33 (D. Mass. 2021) (citing Watkins v. Omni
Life Sci., Inc., 692 F. Supp. 2d 170, 174 (D. Mass. 2010)); see also Cohen v. McDonnell Douglas
Corp., 450 N.E.2d 581, 585 (Mass. 1983).
38
  For ease of reference, this brief refers to the drug cartels, but the Complaint alleges broadly
that Defendants facilitate the trafficking of their guns to criminals in Mexico.
39
  Defendants have not attempted to satisfy the requirements for the “public policy exception”
that can apply where foreign law “‘would violate some fundamental principle of justice, some
prevalent conception of morals, some deep-seated tradition of the commonwealth.’” Restatement
(Second) of Conflict of Laws § 90 (1971) cmt. c (quoting Loucks v. Standard Oil Co. of New
York, 120 N.E. 198, 202 (N.Y. 1918) (Cardozo, J.)).
40
  RJR Nabisco, Inc. v. European Community, 579 U.S. 325, 351 (2016) (quoting Sosa v.
Alvarez-Machain, 542 U.S. 692, 706 (2004)) (emphasis in RJR Nabisco).
41
     Sosa, 542 U.S. at 706.


                                                   6
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 15 of 54




expected “to be responsive and responsible law, law that internalizes the costs and benefits of the

people affected by it.”42 This is the preponderant rule throughout the world.43


II.       PLCAA DOES NOT PRECLUDE THE GOVERNMENT’S CLAIMS BECAUSE
          IT IS INJURED IN MEXICO BY GUN MISUSE IN MEXICO.

          PLCAA’s terms do not reach the Government’s claims. Supreme Court decisions

analyzing similar statutory language are determinative.

           PLCAA precludes only a defined, circumscribed set of lawsuits.44 The statute

commands the dismissal of a “qualified civil liability action,”45 which, as relevant here, is

defined as a lawsuit brought by any person for “[harm] resulting from” the “criminal or unlawful

misuse of a [firearm] by the [plaintiff] or a third party.”46 PLCAA does not preclude claims

where, as here: (1) the gun misuse is “criminal or unlawful” under foreign law, not U.S. law; (2)




42
     Spinozzi v. ITT Sheraton Corp., 174 F.3d 842, 844 (7th Cir. 1999).
43
  Symeon C. Symeonides, Choice of Law in Cross-Border Torts: Why Plaintiffs Win and
Should, 61 Hastings L.J. 337, 368 (2009) (89% of jurisdictions faced with a conflict between the
place of conduct and place of injury apply the law of the place of injury); Symeon
C. Symeonides, Codifying Choice of Law Around the World: An International Comparative
Analysis 54 (Oxford U. Press 2014) (in jurisdictions abroad “virtually all codifications enacted in
the last 50 years continue to follow the lex loci delicti rule as the basic rule for tort conflicts”).
44
   PLCAA does not create “immunity” (Jnt. Mem. at 1) because it does not contain “an explicit
statutory or constitutional guarantee that trial [or suit] will not occur.” See Midland Asphalt
Corp. v. United States, 489 U.S. 794, 801 (1989) (internal quotation omitted). Its chief sponsor,
Senator Craig, acknowledged that PLCAA “is not a gun industry immunity bill.” 151 Cong. Rec.
S9061 (Jul. 27, 2005).
45
     15 U.S.C. § 7902(a).
46
  Id. § 7903(5)(A); see also id. § 7901(a)(3), (5), (6) (making clear that the long list of
“damages,” etc. “resulting from” gun misuse means “harm resulting from”); id. § 7903(5)(A)(v).
(providing exception to allow certain design-defect claims unless the discharge of the gun was
caused by a volitional act constituting a “criminal offense”). The statute does not define
“criminal,” but defines “unlawful misuse” as “conduct that violates a statute, ordinance, or
regulation as it relates to the use of a qualified product.” Id. §7903(9).


                                                  7
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 16 of 54




the action is brought by a foreign government; or (3) the injury occurred abroad. All three

disqualifying elements are present here.

          In determining whether a federal statute applies to claims that have substantial foreign

elements, courts employ a strong “presumption against extraterritoriality,” i.e., “[w]hen a

[federal] statute gives no clear indication of an extraterritorial application, it has none.”47 A

federal statute applies extraterritorially only when “Congress has affirmatively and unmistakably

instructed that the statute will do so.”48 Without an “unmistakable” directive to apply a federal

statute extraterritorially, the U.S. judiciary could create “unintended clashes between our laws

and those of other nations” and thereby violate separation-of-powers principles that make foreign

relations the responsibility of the political branches in the first instance, not the judiciary.49

          Moreover, even when the presumption against extraterritoriality does not apply or has

been overcome, a court must still construe the statute’s substantive terms using “a similar

assumption” about the relevant terms’ strictly domestic reach.50 This rule for construing federal

statutes is based on: (a) the “ordinary assumption about the reach of domestically oriented

statutes,”51 namely that “Congress generally legislates with domestic concerns in mind;”52 and




47
  Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 115 (2013) (quoting Morrison v. Nat’l
Australia Bank Ltd., 561 U.S. 247, 255 (2010)). “United States law governs domestically but
does not rule the world.” Microsoft Corp. v. AT & T Corp., 550 U.S. 437, 454 (2007).
48
     RJR Nabisco, Inc. v. European Community, 579 U.S. 325, 335 (2016).
49
  Kiobel, 569 U.S. at 115 (quoting EEOC v. Arabian American Oil Co., 499 U.S. 244, 255
(1991) (“Aramco”)).
50
     Small, 544 U.S. at 389.
51
     Id. at 390.
52
     Id. at 388-89.


                                                   8
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 17 of 54




(b) the desire to avoid “a risk of conflict between the American statute and a foreign law.”53 The

Supreme Court has applied these rules of construction to terms similar to those in PLCAA,

holding that they have solely domestic reach.

          First, the Court has held that references to statutory elements similar to “criminal or

unlawful misuse” must be read to refer only to violations of U.S. domestic law, unless the statute

indicates otherwise. The gun misuse here occurred in Mexico and was subject to Mexican, not

U.S., law. Second, although PLCAA refers to precluding certain claims of “any governmental

entity,” it specifically refers to only U.S. domestic federal, state, and local governments. The

Supreme Court has construed seemingly broad references to “any court,” “any person,” and the

like to refer to only courts or persons in the United States. Third, the Supreme Court construed

the “injury” element in an analogous provision (granting rather than precluding a cause of action)

and held that, absent a clear indication to the contrary, “injury” means only an injury incurred in

the United States.


          A.     PLCAA Does Not Preclude Claims When the Gun Misuse Is “Criminal or
                 Unlawful” Under Foreign Law.

          In Small v. United States54 the Supreme Court construed a federal statute that

criminalized possession of a firearm in the United States by “any person ... who has been

convicted in any court” of certain crimes.55 The Court held that, despite its broad reference,

“convicted in any court” did not include convictions in foreign courts. Applying the Court’s



53
  RJR Nabisco, 579 U.S. at 336 (quoting Morrison, 561 U.S. at 255). In RJR Nabisco, the Court
noted the “related rule that we construe statutes to avoid unreasonable interference with other
nations’ sovereign authority where possible.” Id. at 2107 n.9 (citing F. Hoffman LaRoche Ltd. v.
Empagran S.A., 542 U.S. 155, 164 (2004)).
54
     544 U.S. 385, 387 (2005).
55
     18 U.S.C. § 922(g)(1).


                                                    9
           Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 18 of 54




reasoning, “criminal or unlawful misuse” in PLCAA means gun misuse that is criminal or

unlawful under U.S. law.

           The gun possession in Small occurred in the United States, so the case involved a

domestic application of the statute to which “the presumption against extraterritorial application

does not apply.”56 Nevertheless, the Supreme Court used “the ‘commonsense notion that

Congress generally legislates with domestic concerns in mind,’”57 and concluded that “a similar

assumption [to the presumption against extraterritoriality] is appropriate when we consider the

scope of the phrase ‘convicted in any court’ here.”58

           The assumption was bolstered because the phrase “convicted in any court” was one

element of domestic conduct (unlawful gun possession) that the statute prohibited.59 Here

“criminal or unlawful misuse” is a defining element of the domestic protection that PLCAA

provides. In both instances, the natural inference is that the elements that define the prohibition

or protection are references to domestic law.

           Small also concluded that Congress likely did not intend to invoke foreign criminal law

because some of those laws are inconsistent with U.S. criminal law.60 The same is true here,

where foreign laws vary dramatically as to what constitutes criminal misuse of a gun, including




56
   544 U.S. at 389; see also id. at 399 (Thomas, J., dissenting) (the majority’s assumption is
“entirely different” from the “canon against extraterritorial application of federal statutes,” and
“[i]n prosecuting Small, the Government is enforcing a domestic criminal statute to punish
domestic criminal conduct”).
57
     Id. at 388 (quoting Smith v. United States, 507 U.S. 197, 204, n.5 (1993)).
58
     544 U.S. at 389.
59
     Id.
60
     Id.


                                                  10
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 19 of 54




some laws, such as those in North Korea and Eritrea, that bar private ownership of guns

altogether.61

          In Small, including foreign convictions would create internal inconsistencies in the

statute. It provided exceptions if the prior conviction was for certain “Federal or State” crimes,

but omitted exceptions for similar convictions under foreign law, thus creating “apparently

senseless distinction[s].”62 Similar anomalies would result from reading “criminal or unlawful”

to include unlawfulness under Mexican law: PLCAA provides exceptions where the seller

violated certain “State or Federal statute[s]”63 but not similar foreign statutes, and preserves

certain claims “under Federal or State law”64 but not under similar foreign law. These

exceptions—without corresponding exceptions based on foreign laws—confirm that Congress

“had only domestic [law] in mind.”65

          The textual support here is even more compelling than in Small. PLCAA extends its

protections to gun importers, but not to exporters.66 Defendants ignore these substantive



61
  See, e.g., N. Korea Enacts Rules on Regulating Firearms, Korea Times/Yonhap, 6 August
2012; National Report of Eritrea on its Implementation of the United Nations Programme of
Action to Prevent, Combat and Eradicate the Illicit Trade in Small Arms and Light Weapons in
All Its Aspects (Jan. 1, 2010), at p. 1; https://www.gunpolicy.org/firearms/region.
62
     Small, 544 U.S. at 392.
63
     15 U.S.C. § 7903(5)(A)(iii); see also 15 U.S.C. § 7903(5)(A)(i).
64
     Id. § 7903(5)(D).
65
   Small, 544 U.S. at 388-389. Defendants brush aside the task of statutory construction by
asserting that it is obvious in this case that the cartels’ misuse of guns is unlawful under Mexican
Law. Jnt. Mem. 30. But the meaning of a statute does not depend on the facts of a particular
case; the question is whether the statutory term “criminal or unlawful” reaches misuse that is
criminal or unlawful under foreign law, not whether a particular misuse would readily be found
to violate that foreign law if the statute reached it.
66
   15 U.S.C. § 7903(6)(A); see also id. § 7901(b)(1) (among statute’s goals is to protect
importers; not mentioning exporters). Section 7903(5)(A) defines a prohibited qualified civil
liability action as certain actions brought against “manufacturers” and “sellers.” Section



                                                  11
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 20 of 54




provisions of PLCAA and instead point to a “Finding” that includes a reference to the Arms

Export Control Act (“AECA”).67 But that Finding also notably omits any reference to exporting,

stating that “[t]he manufacture, importation, possession, sale, and use of firearms and

ammunition in the United States are heavily regulated by Federal, State, and local laws [citing

the AECA among other statutes].”68 True, the AECA has the word “Export” in its title, but it

regulates arms manufacture and import as well as export,69 so the mere reference to the AECA

proves nothing. Instead, the extensive federal framework for arms exports70 emphasizes the

conspicuous absence of references to exporters or exporting in both PLCAA’s substantive

protections and its Finding.




7903(6)(A) defines “sellers” to include licensed importers, but omits exporters. Section 7903(2)
defines a “manufacturer” as someone who is licensed as a manufacturer under 18 U.S.C. § 923.
A license to import or manufacture does not include the right to export firearms, which requires
additional licenses. See infra n. 70. And PLCAA refers not just to the status of being an importer
(omitting exporters), but also refers to the business of importing but not of exporting. See 15
U.S.C. § 7901(a)(5) (referring to “manufacture, marketing, distribution, importation, or sale to
the public”); id. §7901(a)(4) (same).
67
     Jnt. Mem. 28.
68
     15 U.S.C. § 7901(a)(4) (emphasis added).
69
  See, e.g., 28 U.S.C. § 2778(a)(1) (providing Executive authority to “promulgate regulations for
the import and export of [defense] articles and services”); id. § 2778(b)(1)(A)(i) (imposing
registration requirement for “manufacturing, exporting, or importing any defense articles …
designated by the President”); id. § 2778(b)(2) (imposing license requirement on “exports or
imports made by or for an agency of the United States Government”).
70
  Id.; see also, e.g., International Traffic in Arms Regulations, 22 C.F.R. §§ 121 et seq.;
Executive Order 13637 and statutes and regulations cited therein.


                                                12
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 21 of 54




          Defendants also point to PLCAA’s references to “interstate and foreign” commerce.71

But the Supreme Court “ha[s] emphatically rejected reliance on such language, holding that

‘even statutes ... that expressly refer to ‘foreign commerce’ do not apply abroad.”72

          Lastly, the legislative history in Small revealed no intention to encompass foreign

convictions within “convictions in any court.”73 So too here: PLCAA’s legislative history has

zero discussion of gun misuse that occurs abroad or that is criminal under foreign law—not even

a single reference to Mexico, Canada, or their nationals. That absence is all the more compelling

because Congress enacted PLCAA when gun-trafficking from the United States to Mexico had

long been a well-known problem.74


          B.     PLCAA Does Not Preclude Claims of Foreign Governments.

          PLCAA defines a “qualified civil liability action” as, inter alia, one brought by “any

person,” which includes “any governmental entity.”75 For all the reasons that Small construed the

term “any court” to mean only U.S. domestic courts, so should the Court construe “any

governmental entity” to mean only U.S. domestic governmental entities.

          Moreover, the Supreme Court has repeatedly held that “any,” including specifically “any

person” “ordinarily connotes breadth, but it is insufficient to displace the presumption against




71
     Jnt. Mem. 28.
72
  RJR Nabisco, 579 U.S. at 353 (quoting Morrison, 561 U.S. at 262-63); see also Aramco, 499
U.S. at 251 (citing additional cases).
73
     544 U.S. at 389-94.
74
  See, e.g., Tim Weiner and Ginger Thompson, U.S. Guns Smuggled Into Mexico Feed Drug
War, N.Y. Times (May 19, 2001), https://www.nytimes.com/2001/05/19/world/us-guns-
smuggled-into-mexico-feed-drug-war.html (in 2001 U.S. Attorney General planned to meet with
Mexican officials to address this issue).
75
     15 U.S.C. § 7903(3), (5)(A).


                                                  13
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 22 of 54




extraterritoriality.”76 That conclusion is particularly apt here because PLCAA pointedly refers to

precluding actions “by the Federal Government, States, municipalities [and some non-

governmental entities]”77 but omits any references to foreign governments.


          C.       PLCAA Does Not Preclude Claims When the Injury Occurs Abroad.

          PLCAA precludes claims for injury, i.e., the “[damages] resulting from”—the “harm

solely caused by”—gun misuse.78 Applying the assumption that Congress legislates with

domestic concerns in mind, and intends to avoid impinging on the prerogatives of foreign

nations, PLCAA’s injury element must be construed to mean injury in the United States.

          The Supreme Court in RJR Nabisco79 construed RICO’s reference to “injury” to mean an

injury incurred in the United States. Even though some of the statute’s substantive proscriptions

apply to foreign conduct, the Court separately analyzed whether the provision that creates a

cause of action extends to injuries suffered abroad.80 Providing a claim under a U.S. statute for

injuries suffered abroad creates “a potential for international friction”81 because the foreign

sovereign has an interest in deciding for itself whether and how to address those injuries. When




76
  RJR Nabisco, Inc., 579 U.S. at 349-50; see also Kiobel v. Royal Dutch Petroleum Co., 569
U.S. 108, 118 (2013) (“[I]t is well established that generic terms like ‘any’ or ‘every’ do not
rebut the presumption against extraterritoriality”); see also United States v. Palmer, 3 Wheat.
610, 631 (1818) (Marshall, C.J.) (“The words ‘any person or persons,’ are broad enough to
comprehend every human being” but are "limited to cases within the jurisdiction of the state").
77
     See 15 U.S.C. § 7901(a)(7), (8).
78
     See 15 U.S.C. § 7903(5)(A); § 7901(a)(6), (b)(1).
79
     579 U.S. 325 (2016).
80
  Id. at 346-354. Unlike RICO, none of PLCAA’s substantive provisions expressly applies to
foreign conduct.
81
     Id. at 347.


                                                 14
           Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 23 of 54




such potential for friction exists “the need to enforce the presumption [against extraterritorial

reach] is at its apex.”82

           RICO’s text broadly provides a claim to “any person injured in his business or property,”

but the Court found that such breadth “is insufficient to displace the presumption against

extraterritoriality.”83 Even though some RICO prohibitions apply to foreign conduct,

“[s]omething more is needed” to overcome the presumption that “injury” in the claim-granting

provision means domestic injury.84 The Court “emphatically rejected” the notion that “injury”

includes those incurred abroad merely because the statute “expressly refer[s] to ‘foreign

commerce.’”85 Absent express direction from Congress, RICO’s unadorned reference to

“injur[y]” required that a plaintiff “allege and prove a domestic injury to its business or

property.”86

           RJR Nabisco is compelling authority because PLCAA is the mirror image of RICO’s

claim-granting provision. Instead of providing a cause of action that would not otherwise exist,

as RICO does, PLCAA (under Defendants’ reading) would preclude causes of action that

applicable foreign substantive law would otherwise provide. The “friction” here would be even

greater than in RJR Nabisco because Defendants would read PLCAA to preclude a claim that the




82
     Id.
83
     Id. at 349-50.
84
     Id. at 350.
85
     Id. at 353 (quoting Morrison, 561 U.S., at 262–263). See supra Section IIA.
86
     Id. at 354 (emphasis in original).


                                                  15
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 24 of 54




substantive law of Mexico provides to the Government of Mexico, for injuries incurred in

Mexico, resulting from gun misuse in Mexico.87

          RJR Nabisco held that providing a U.S. claim for injuries incurred abroad risks “upsetting

a balance of competing considerations that [foreign sovereigns’] own domestic … laws

embody”88 and thereby “offend[ing] the sovereign interests of foreign nations.”89 Those same

considerations apply here because “there is a potential for international controversy that militates

against [precluding] foreign-injury claims without clear direction from Congress.”90 Absent such

clear direction, the Court should not interpret PLCAA to override applicable Mexican tort law

and create a safe haven from which Defendants can flood Mexico with crime guns without

accountability.

          Speaking to claims like these, RJR Nabisco emphasized that “a court will ordinarily

‘apply foreign law to determine the tortfeasor's liability’ to ‘a plaintiff injured in a foreign

country.’”91 And Congress provided jurisdiction for foreign sovereigns “to sue [a U.S. domestic

corporation] for violations of their own laws and to invoke federal diversity jurisdiction as a

basis for proceeding in U.S. courts.”92 Accordingly, the Court would not “‘recognize a cause of



87
  The Court in RJR Nabisco held that the presumption against extraterritoriality applies
“regardless of whether the statute in question regulates conduct, affords relief, or merely confers
jurisdiction.” 579 U.S. at 326; see also Kiobel, 569 U.S. at 124 (applying presumption to statute
that provided jurisdiction to hear international-law claims).
88
  579 U.S. at 347 (quoting F. Hoffmann-La Roche Ltd. v. Empagran S.A., 542 U.S. 155, 167
(2004)).
89
     Id. at 348 (citation omitted).
90
  Id.; see also Aramco, 499 U.S. at 248 (purpose of presumption against extraterritoriality is “to
protect against unintended clashes between our laws and those of other nations which could
result in international discord”).
91
     Id. at 2109 (quoting Sosa v. Alvarez–Machain, 542 U.S. at 706).
92
     Id. (emphasis in original).


                                                  16
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 25 of 54




action under U.S. law’ for injury suffered overseas.”93 The Court’s reasoning leads inexorably to

the conclusion that, absent the clearest of statutory text, U.S. law does not preclude a cause of

action that applicable foreign law provides for injury suffered abroad.94


          D.      Defendants’ “Focus” Analysis Is Wrong and Irrelevant.

          Defendants argue that “PLCAA applies to [the Government’s] claims”95 because the

“focus” of the statute is “barring suits from being ‘brought in any Federal or State court.”96

Defendants are wrong about PLCAA’s focus; it bars only certain defined suits—those for injury

resulting solely from criminal or unlawful gun misuse.97 And even if Defendants were right

about PLCAA’s general focus, RJR Nabisco and Small’s principles of statutory construction

would still apply and would require reading injury and “criminal or unlawful misuse” to mean

injury in the United States and “criminal or unlawful” under U.S. law.


                  1.     Defendants Are Wrong About the Relevant “Focus.”

          At the first step of an extraterritoriality analysis, Defendants must overcome the

presumption against extraterritoriality.98 As demonstrated above, Defendants come nowhere near




93
     Id. (emphasis in original) (quoting Kiobel, 569 U.S. at 119).
94
   Franklin A. Gevurtz, Building a Wall Against Private Actions for Overseas Injuries: The
Impact of RJR Nabisco v. European Community, 23 U.C. Davis J. Int’l L. & Pol’y 1, 35 (2016)
(“[A]s the Court pointed out in RJR Nabisco, ‘what is sauce for the goose normally is sauce for
the gander.’ If U.S. courts are going to say [when the injury occurs abroad] that foreign laws
must apply when they are more favorable to U.S. defendants, then U.S. courts must be prepared
to accept the consequences of applying such laws when they are more favorable to plaintiffs
suing U.S. defendants.”) (quoting RJR Nabisco, 579 U.S. at 349).
95
     Jnt. Mem. 27-30.
96
     Id. at 27, quoting § 7902(a).
97
     See 15 U.S.C. § 7903(5)(A); 7901(a)(6), (b)(1).
98
     WesternGeco LLC v. ION Geophysical Corp., 138 S. Ct. 2129, 2136 (2018).


                                                   17
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 26 of 54




clearing that hurdle: PLCAA has no indications of extraterritorial application, and the Supreme

Court has “emphatically rejected”—repeatedly—Defendants’ reliance on statutory references to

“foreign commerce.”99

          The second step considers the statute’s “focus.” Relying on only § 7902(a) of PLCAA,

Defendants argue that PLCAA’s focus is lawsuits in U.S. federal and state courts.100 But the

Supreme Court’s decision in WesternGeco forecloses Defendants’ siloed reference to only §

7902(a). “When determining the focus of a statute, we do not analyze the provision at issue in a

vacuum. … If the statutory provision at issue works in tandem with other provisions, it must be

assessed in concert with those other provisions.”101

          Here, § 7902(a) provides that no “qualified civil liability action” may be brought in any

Federal or State Court. That provision cannot be understood without reference to the definition of

a “qualified civil liability action” in § 7903(5)(A). These provisions “work in tandem,” so they

must be “assessed in concert.”

          Moreover, WesternGeco determined the “focus” of each of the statute’s relevant

sections.102 Regardless of the focus of § 7902(a), the focus of § 7903(5)(A)’s definition of the



99
     RJR Nabisco, 579 U.S. at 353.
100
      Jnt. Mem. 27-30.
101
   WesternGeco, 138 S. Ct. at 2137; see also In re Picard, Trustee for Liquidation of Bernard L.
Madoff Investment Securities LLC, 917 F.3d 85, 97 (2d Cir. 2019) (“Just as the focus of [the
damages provision] of the Patent Act depends on the infringement provision that enables a
plaintiff to seek damages, the focus of [the recovery provision] of the Bankruptcy Code depends
on the avoidance provision that enables a trustee to recover property.”).
102
    WesternGeco, 138 S. Ct. at 2137-2138 (determining that “the infringement” is the focus of §
284 of the Patent Act, and that “the domestic act of ‘suppl[ying] in or from the United States’” is
the focus of § 271(f)(2)); see also RJR Nabisco, 579 U.S. at 346 (“separately appl[ing] the
presumption against extraterritoriality to RICO’s cause of action”); Prime Int’l Trading, Ltd. v.
BP P.L.C., 937 F.3d 94, 104 (2d Cir. 2019) (the court must “discern the ‘focus’ of each
[statutory] provision individually”).


                                                  18
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 27 of 54




precluded actions is plainly the defined substantive elements—namely, injury and “criminal or

unlawful” gun misuse.103 In short, PLCAA does not broadly “bar[] lawsuits” as Defendants

assert, but “insulat[es] the firearms industry from a specified set of lawsuits”—those defined in §

7903(5)(A).104 As its chief sponsor emphasized, PLCAA “prohibits one narrow category of

lawsuits: suits against the firearms industry for damages resulting from the criminal or unlawful

misuse of a firearm or ammunition by a third party.”105


                 2.      Regardless of “Focus,” § 7903(5)(A) Refers to U.S. Domestic Injury
                         and Law.

          Defendants’ extraterritoriality and “focus” analyses are not only wrong, but irrelevant.

Small expressly concluded that applying the statute there was a permissible domestic application,

but nevertheless used an “assumption”—one closely akin to the presumption against

extraterritoriality—to construe the statute’s relevant terms.106 Although some RICO proscriptions

apply abroad, RJR Nabisco “interpreted a substantive element of a cause of action”—injury—by

“applying the presumption against extraterritoriality to interpret the scope of [the] injury

requirement.”107




103
   See, e.g., WesternGeco, 138 S. Ct. at 2138 (focus of section awarding damages for
infringement is the substantive element of infringement).
104
   Ileto v. Glock, Inc., 565 F.3d 1126, 1138, 1141 (9th Cir. 2009); see also City of New York v.
Beretta U.S.A. Corp., 524 F.3d 384, 398 (2d Cir. 2008) (PLCAA provides protection to “a
specific type of defendant from a specific type of suit.”).
105
    151 Cong. Rec. S9,061 (daily ed. July 27, 2005) (Sen. Craig). PLCAA’s findings and
Congressional purpose are to the same effect. See, e.g., 15 U.S.C. § 7901(a)(3); id. §7901(a)(5);
id. § 7901(a)(6); id. § 7901(b)(1).
106
      544 U.S. at 389-94.
107
      WesternGeco, 138 S. Ct. at 2138 (analyzing RJR Nabisco).


                                                  19
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 28 of 54




          PLCAA mandates dismissal of certain civil actions. Which ones? Small and RJR Nabisco

require that § 7903(5)(A) be construed to encompass only those actions for injury in the United

States resulting from gun misuse that is criminal or unlawful under U.S. law.

          This is hardly surprising. That PLCAA precludes certain lawsuits in U.S. federal and

state courts says nothing at all about whether the defined lawsuits include those where the injury

occurs abroad and the gun misuse is unlawful under foreign law, not U.S. law. In construing that

definition’s terms, the governing assumption is that Congress “generally legislates with domestic

concerns in mind,”108 and that precluding a foreign-law claim for injuries and events occurring

abroad risks undermining the foreign sovereign’s law addressing the injuries and events within

its jurisdiction.109 Defendants cannot overcome that assumption.


III.      THE GOVERNMENT’S CLAIMS ARE WITHIN PLCAA’S STATUTORY
          EXCEPTIONS.

          Even if PLCAA otherwise reached these claims by a foreign government for injuries

incurred abroad resulting from gun use abroad, it would not bar this case. Defendants’ conduct

violates numerous U.S. federal and state statutes applicable to the marketing and sale of guns, so

the Government’s claims fall within several statutory exceptions to PLCAA.


          A.      The Government’s Action Is Within the Predicate-Violation Exception.

          Even if the Government’s case were a “qualified civil liability action,” 110 PLCAA does

not mandate dismissal of any of its claims. While other PLCAA exceptions exempt specific


108
      Small, 544 U.S. at 388 (citation omitted).
109
   RJR Nabisco, 579 U.S. at 347 (quoting F. Hoffmann-La Roche Ltd. v. Empagran S.A., 542
U.S. 155, 167 (2004)).
110
    The Government’s claims do not even fall within the general definition of a “qualified civil
liability action” in §7903(5)(A). The Supreme Court has instructed courts to narrowly construe



                                                   20
       Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 29 of 54




claims, the “predicate exception” exempts “an action in which a manufacturer or seller of

a qualified product knowingly violated a State or Federal statute applicable to the sale or

marketing of the product, and the violation was a proximate cause of the harm for which relief is

sought.”111 because its “predicate exception” exempts “an action in which a manufacturer or

seller of a qualified product knowingly violated a State or Federal statute applicable to the sale or

marketing of the product, and the violation was a proximate cause of the harm for which relief is

sought.”112 Courts routinely hold that where, as here, the exception applies, all claims are




the reach of federal laws like PLCAA which purport to intrude into areas of traditional state
authority (such as making and applying tort liability) unless Congress has unmistakably stated an
intent to infringe on state law. See Gregory v. Ashcroft, 501 U.S. 452 (1991); Bond v. United
States, 134 S. Ct. 2077 (2014); Cipollone v. Liggett Group, 505 U.S. 504 (1992). This Court
should “not read [PLCAA] to [bar claims like the Government’s] unless Congress has made it
clear that [they] are included.” Gregory, 501 U.S. at 467 (emphasis in original). PLCAA does not
include such a plain statement. “[I]n the absence of a clear statement in the statutory text or
legislative history [of PLCAA] that Congress intended to supersede the states’ traditional
authority . . . we are compelled to resolve any textual ambiguities in favor of the plaintiffs.” Soto
v. Bushmaster Firearms Int'l, LLC, 202 A.3d 262, 312-313, 313 n. 58 (Conn. 2019), cert denied
sub nom. Remington Arms Co., LLC v. Soto, 140 S. Ct. 513 (2019) (citing Bond and Cipollone).
“[R]esult[ing] from” third-party criminal or unlawful use of a firearm is undefined and should be
read consistent with PLCAA’s first Purpose and one Finding—which indicate Congress’s intent
to shield only liability for harm “solely caused” by third-party misuse. See 15 U.S.C. §
7901(b)(1), (a)(6).
111
   15 U.S.C. § 7903(5)(A)(iii) (emphasis added). Compare, e.g., § 7903(5)(A)(ii) (exempting
action “for negligent entrustment) (emphasis added).
112
   15 U.S.C. § 7903(5)(A)(iii) (emphasis added). Defendants seem to imply that the predicate
violation must be a necessary element of one of the claims. Jnt. Mem. 17. Courts across the
country have rejected this view (see the next footnote) as does the statutory text. PLCAA defines
the elements of the negligent entrustment exception, and exempts other specific actions “for,”
e.g., negligence per se, but the predicate violation exempts an entire “action” “in which” a
defendant knowingly violates an applicable law. The Protection of Lawful Commerce in Arms
Act does shield actors who engage in unlawful conduct.


                                                 21
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 30 of 54




excepted from PLCAA’s preclusion, regardless of whether they would independently fall within

an exception.113


                 1.      The Complaint Plausibly Alleges that Defendants Knowingly Violated
                         Firearms-Specific Statutes.

          The Complaint plausibly alleges that Defendants knowingly violated statutes “applicable

to” the sale of guns, even under Defendants’ (incorrect) narrow reading of the exception as

requiring violation of a “firearms-specific” statute.114

          For one, Defendants violated 18 U.S.C.§ 922(b)(4)’s prohibition on the sale to the

general public of “machinegun[s]” (as defined in 26 U.S.C. § 5845(b)). Defendants argue that

firearms are “machineguns” only if “originally designed” to fire automatically.115 But ATF

expressly rejected that narrow interpretation:

          The National Firearms Act, 26 U.S.C. § 5845(b), defines a machinegun to include
          any weapon which shoots, is designed to shoot, or can be readily restored to
          shoot, automatically more than one shot, without manual reloading, by a single
          function of the trigger . . . The “designed” definition includes those weapons


113
    See, e.g., Prescott v. Slide Fire Solutions, LP, 410 F. Supp. 3d 1123 (D. Nev. 2019); Englund
v. World Pawn Exch., 2017 Ore. Cir. LEXIS 3, *11-12 (Jun. 30, 2017); Fox v. L&J Supply, LLC,
No. 2014-24619, 1 n.1 (Pa. Ct. Cmmn. Pl. Nov. 26, 2018) (attached to the Declaration of
Nicholas W. Shadowen (“Shadowen Dec.”), Ex. 55); Coxie v. Academy, Ltd., No. 2018-CP-42-
04297 (S.C. Ct. Cmmn. Pl. Jul. 29, 2019) (attached to Shadowen Dec., Ex. 56); Chiapperini v.
Gander Mountain Co., Inc., 13 N.Y.S.3d 777 (N.Y. Sup. Ct. 2014); Smith & Wesson Corp. v.
City of Gary, 875 N.E.2d 422 (Ind. App. 2007), transfer denied 915 N.E.3d 978 (Ind.
2009); Norberg v. Badger Guns, Inc., Case No. 10-cv-20655 (Wis. Cir. Ct. Jun. 9, 2011)
(attached to Shadowen Dec., Ex. 57); Williams v. Beemiller, Inc., 100 A.D.3d 143 (N.Y. App.
Div. 2012), amended by 103 A.D.3d 1191 (N.Y. App. Div. 2013); but see Goldstein v. Earnest,
No. 37-2020-00016638-CU-PO-CTL, at 5 (Ca. Super. Ct. Jul. 2, 2021), pet. for writ denied (Ca.
Ct. App. Sep. 4, 2021) (attached to Shadowen Dec., Ex. 58). Defendants cite mostly cases where,
unlike here, the complaint did not allege the predicate exception. Jnt. Mem. 18 n. 6. While Soto
v. Bushmaster Firearms Int'l, LLC, 202 A.3d 262 (Conn. 2019), found that violation of
Connecticut’s Unfair Trade Practices Act could satisfy the predicate exception, plaintiffs there
did not argue, so the court did not address, whether other claims were also permitted.
114
      See Jnt. Mem. 14-17, 21-22.
115
      See id. at 18 (emphasis omitted).


                                                  22
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 31 of 54




          which have not previously functioned as machineguns but possess design features
          which facilitate full automatic fire by a simple modification or elimination of
          existing component parts.116

          The Complaint plausibly alleges that Defendants’ AR-15 and AK-47 style firearms have

“design features” that allow “simple modification or elimination of existing component parts” to

transform them into guns that are capable of “full automatic fire,” rendering them prohibited

“machinegun[s].”117 Courts have denied motions to dismiss on similar allegations.118

          The Complaint also plausibly alleges that Defendants are accomplices in straw purchases

and other gun-sales practices that violate a number of U.S. federal and state statutes.119 Contrary




116
      ATF Rul. 82-8, at p. 1 (emphasis added) (attached to Shadowen Dec., Ex. 59). See Compl. ¶
72.
117
      See Compl. ¶¶ 308-13.
118
    See, e.g., Parsons v. Colt’s Manufacturing Company, LLC, No. 2:19-cv-01189-APG-EJY
2020 WL 1821306, at *6 (D. Nev. Apr. 10, 2020) (“The [plaintiffs] allege that these defendants
knowingly manufactured and sold weapons ‘designed to shoot’ automatically because they were
aware their AR-15s could be easily modified with bump stocks to do so. The [plaintiffs] have
alleged a wrongful death claim that is not precluded by the PLCAA.”); Goldstein v. Earnest, No.
37-2020-00016638-CU-PO-CTL at 3-4 (Ca. Super. Ct. Jul. 2, 2021), pet. for writ denied (Ca. Ct.
App. Sep. 4, 2021) (attached to Shadowen Dec., Ex. 58) (similar). Parsons also explains why
Staples v. United States, 511 U.S. 600 (1994) (cited in Jnt. Mem. 18-19) is not controlling as to
the question of whether the firearms in question are “machinegun[s].” 2020 WL 1821306, at *5.
119
    A straw purchaser “buys a gun on someone else’s behalf while falsely claiming that it is for
himself.” Abramski v. United States, 573 U.S. 169, 171-72 (2014) (upholding straw purchaser’s
conviction for violation of 18 USC §§ 922(a)(6), 924(a)(1)(a)). A dealer that completes a gun
sale despite actual or constructive knowledge that the buyer is a straw purchaser is an accomplice
to the straw purchaser’s purchase-related crimes. See United States v. Carney, 387 F.3d 436,
448-50, 448 n.4 (6th Cir. 2004). The Complaint identifies numerous federal provisions that can
be violated by a party who knowingly facilitates a straw purchase (Compl. ¶ 249), and also
alleges violations of federal restrictions on gun exports (id. ¶¶ 63-65) and selling without a
license (id. ¶¶ 67).


                                                 23
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 32 of 54




to Defendants’ contention,120 they can be found to be accomplices or coconspirators under the

Supreme Court’s decision in Direct Sales v. United States121 and its progeny.122

          The Complaint alleges that Defendants continually supply numerous downstream

distributors and dealers despite actual or constructive knowledge that they illicitly resell guns to

traffickers to Mexico.123 Direct Sales upheld the criminal conspiracy conviction of the upstream

seller on facts less compelling than here. The Direct Sales Court observed that certain items, like

firearms and drugs, because of their high “susceptibility to harmful and illegal misuse,” can, by

their “very nature,” help “giv[e] the seller notice the buyer will use them unlawfully.”124

Defendants sell assault rifles, “machinegun[s],” and .50 caliber sniper rifles that are uniquely

dangerous, and criminals will foreseeably acquire them if Defendants fail to responsibly market

and sell them. As Direct Sales noted, “Gangsters, not hunters or small boys, comprise the normal

private market for machine guns.”125

          In Direct Sales, law enforcement warned the defendant that its bulk sales supplied corrupt

doctors who unlawfully distributed its opiates, and the defendant followed the government’s

recommendation to curtail certain bulk drug sales.126 Here, Defendants received repeated notice

that their distributor and dealer networks illicitly and disproportionately supply traffickers. The




120
      Jnt. Mem. 19-20.
121
      319 U.S. 703 (1943).
122
   See United States v. Bewig, 354 F.3d 731, 736-37 (8th Cir. 2003); United States v. Wyche,
2003 U.S. App. LEXIS 28632, *6-8 (5th Cir. 2003).
123
      See, e.g., Compl. ¶¶ 115-277.
124
      319 U.S. at 710-12.
125
      Id. at 710.
126
      See id. at 707, 707 n. 4.


                                                  24
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 33 of 54




U.S. government warned Defendants of specific practices that divert their products into criminal

markets and called on them to self-police and reform.127 But Defendants refused.128

            Defendants say Direct Sales does not apply because the Complaint purportedly does not

allege that they sold “to any particular buyer[s]” in such large quantities that they “could only be

reselling them in illegal transactions.”129 But the Complaint plausibly alleges precisely that.130

Regardless, Direct Sales applied broad principles of accomplice/coconspirator liability that are

not limited to its facts. Accordingly, the court in City of Gary v. Smith & Wesson Corp.131 denied

the dismissal motions of many of these Defendants,132 holding that it is “well settled that

evidence of willful blindness to critical facts may suffice to establish a knowing violation of a

criminal statute.”133


                   2.     The Complaint Plausibly Alleges that Defendants Violated Unfair
                          Trade Practice Statutes.

            Even if the predicate exception required violations of only “firearms-specific” statutes,134

Defendants violated them, as explained above. But the exception is broader; it exempts actions in

which defendant knowingly violates any “applicable to the sale or marketing of” firearms.135



127
   Compl. ¶¶ 89-94; see U.S. Department of Justice, Gun Violence Reduction: National
Integrated Firearms Violence Reduction Strategy (Jan. 18, 2001).
128
      Id.
129
      Jnt. Mem. 20 (emphasis omitted).
130
      See, e.g., Compl. ¶¶ 115-277.
131
      126 N.E.3d 813 (Ind. App. 2019), transfer denied, 2019 Ind. LEXIS 901 (Nov. 26, 2019).
132
      See also City of Gary v. Smith & Wesson, 801 N.E.2d 1222, 1234-35 (Ind. 2003).
133
  126 N.E.3d at 829 n. 18 (addressing accomplice liability); see also City of Gary v. Smith &
Wesson, 801 N.E.2d 1222, 1234-35 (Ind. 2003).
134
      Jnt. Mem. 14-17, 21-22.
135
      15 U.S.C. § 7903(5)(A)(iii).


                                                    25
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 34 of 54




These laws include Massachusetts’s Chapter 93A and Connecticut’s Unfair Trade Practices Act

(“CUTPA”).136

          The Supreme Court of Connecticut in Soto rejected Defendants’ narrow construction,

holding that “[i]f Congress had intended to limit the scope of the predicate exception to

violations of statutes that are directly, expressly, or exclusively applicable to firearms . . . it easily

could have used such language, as it has on other occasions.”137 PLCAA contains no such

limitation. The Court of Appeals of Indiana similarly held—twice—that violating a state public

nuisance law is a predicate violation, even though the law is not firearms-specific.138 Courts have

held that state unfair trade practice laws like CUTPA and Chapter 93A satisfy the predicate

exception.139 Defendants have not cited—and the Government is not aware of—any case that has

found that a similar statute that addresses sales and marketing is outside PLCAA’s predicate

exception.




136
    Conn. Gen. Stat. §§ 42-110 et seq. All Defendants are alleged to engage in conduct that
constitutes unfair business practices, so the Government reserves the right to seek leave to amend
to allege violations under other applicable state laws.
137
      202 A.3d. at 302 (emphasis in original).
138
   See Smith & Wesson Corp. v. City of Gary, 875 N.E. 2d 422, 431-35 (Ind. Ct. App. 2007);
City of Gary v. Smith & Wesson Corp., 126 N.E. 3d 813, 833-34 (Ind. Ct. App. 2019).
139
   See Soto, 202 A. 3d. at 308 n.53 (“CUTPA specifically regulates commercial sales activities
and is, therefore, narrower in scope and more directly applicable than the general tort and
nuisance statutes at issue in Ileto.”); Prescott, 410 F. Supp. 3d at 1138 (Nevada deceptive trade
practices law “specifically regulates the sale and marketing of goods”); cf. Goldstein, No. 37-
2020-00016638-CU-PO-CTL, 4-5 (violating California unfair trade practices law is a predicate
violation). Defendants assert that Soto had “no logical basis for limiting the predicate exception
to only some generally applicable statutes, but not others.” Jnt. Mem. 21-22. In fact, Soto
identifies such a basis—that state statutes governing “sales and marketing” are within §
7903(5)(A)(iii)’s exception for statutes “applicable to the sale or marketing of” firearms.


                                                   26
           Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 35 of 54




          Even Defendants’ primary authorities refute their position. The Second Circuit in City of

New York v. Beretta U.S.A. Corp.140 “agree[d] with the [lower court’s] rejection of the . . .

argument that the predicate exception is necessarily limited to statutes that expressly regulate the

firearms industry.”141 Ileto v. Glock, Inc.142 concurred, noting that the exception encompasses

“statutory violations concerning firearm regulations or sales and marketing regulations.”143

Unlike the statutes that City of New York and Ileto found insufficient to invoke the exception,

CUTPA and Chapter 93A are specifically directed to “sales and marketing” activities, thereby

falling within the predicate exception under Defendants’ own authorities.

          That Congress included examples of statutes as possible foundations for a predicate

violation144 does not constrict the broad exception for statutes “applicable to the sale and

marketing of” firearms.145 The non-limiting word “including” that precedes the examples makes

clear that they are illustrative rather than exhaustive or restrictive. Nor does giving effect to the

plain text render PLCAA’s negligence per se exception surplusage.146 The two exceptions have

different elements; for example, the predicate exception requires a “knowing” mens rea, whereas

the negligence per se exception does not.




140
      524 F.3d 384 (2d Cir. 2008), cited in Jnt. Mem. 14-17.
141
      Id. at 400.
142
      565 F.3d 1126 (9th Cir. 2009), cited in Jnt. Mem. 14-17.
143
      Id. at 1137 (emphasis added).
144
      15 U.S.C. § 7903(5)(A)(iii)(I-II).
145
      See Jnt. Mem. 21.
146
      Id. at 17.


                                                  27
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 36 of 54




            B.     The Government’s Claims Are Within the Negligence Per Se Exception.

            PLCAA also exempts the Government’s negligence per se claims.147 Defendants

erroneously contend that because they are “manufacturers” they cannot be “sellers” to which the

exception applies.148 But those statuses are not mutually exclusive, and there is no basis to find

they are not also sellers.

            Defendants assert that governmental entities are not within the “class” of victims

intended to be protected by the statutes that Defendants violated.149 Not so. Even if

Massachusetts’s Chapter 93A imposed this limitation, the other U.S. laws that Defendants

violated do not.150 Criminal statutes that broadly protect the public, like the Gun Control Act,151

support negligence per se actions.152 Defendants have cited no case to the contrary.153 Their

argument that foreign sovereigns are categorically outside the exception154 is a non-starter; if

PLCAA reaches outside U.S. borders to encompass claims by foreign sovereigns arising from

injuries from gun misuse abroad, it cannot categorically deny them its exceptions.155


147
   15 U.S.C. § 7903(5)(A)(ii); see Practico v. Portland Terminal Co., 783 F.2d 255, 262 (1st
Cir. 1985) (“Under the traditional negligence approach, negligence per se will be found where
violation of a statutory duty cause[s] precisely the kind of harm which the statute was designed
to prevent.”) (citing Restatement (Second) of Torts § 286).
148
      Jnt. Mem. 12-13, 25-26.
149
      Jnt. Mem. 26.
150
      Compl. ¶¶ 63-65.
151
      Id. ¶¶ 66-72.
152
      See Adamian v. Three Sons, Inc., 233 N.E.2d 18, 19-20 (Mass. 1968).
153
   The only case Defendants cite, Town of Plainville v. Almost Home Animal Rescue & Shelter,
Inc., 187 A.3d 1174 (Conn. App. Ct. 2018) (cited in Jnt. Mem. 26), did not mention any
supposed rule that governments can never be within the class of persons that safety statutes are
designed to protect. It simply ruled that an anti-animal-abuse statute protected only animals.
154
      Id.
155
   Defendants’ argument highlights again that PLCAA does not reach these claims in the first
instance. See supra Section IIA.


                                                    28
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 37 of 54




IV.       THE COMPLAINT PLAUSIBLY ALLEGES THAT DEFENDANTS’
          WRONGFUL CONDUCT CAUSED THE GOVERNMENT’S INJURIES.

          Defendants’ arguments that the case must be dismissed for lack of standing and

proximate cause156 ignore and mischaracterize the Complaint’s plausible allegations, misstate

applicable legal standards, and rehash arguments that numerous courts have properly rejected.

          The Complaint plausibly alleges that hundreds of thousands of Defendants’ guns, valued

at more than $170 million, are trafficked into Mexico every year.157 “Defendants’ guns are the

overwhelming source of the cartels’ arsenals.”158 Their guns “account for 47.9% of all crime

guns recovered in Mexico” and “68.4% of the recovered crime guns that originated in the

U.S.”159 The Complaint details that Defendants know that some of their dealers “engage in straw

sales, multiple sales, repeat sales, and other business practices that supply traffickers who arm

the drug cartels,”160 and “[d]espite this voluminous notice, Defendants have not instituted a

single public-safety protocol in their distribution systems to detect and deter gun trafficking to

Mexico.”161

          The Complaint plausibly alleges that Defendants’ unlawful facilitation of the trafficking

has caused and continues to cause massive damage to the Government, from the murder of its




156
      Jnt. Mem. 6-10, 31-38.
157
      Compl. ¶¶ 389, 438.
158
      Compl. ¶116.
159
      Compl. ¶ 435.
160
      Compl. ¶ 118; see id. ¶¶ 115–226.
161
     Compl. ¶ 227; see also ¶ 247 (“Defendants supply dealers with all the guns they can pay for .
. . even if a gun dealer has been repeatedly found to have violated gun laws, has been indicted or
its employees have had federal gun licenses revoked, or has repeatedly supplied cartels in
suspicious and obvious sales to traffickers, including repeated bulk sales of assault rifles and
sniper rifles.”).


                                                  29
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 38 of 54




police and soldiers, to property damage to its planes and vehicles,162 to the enormous costs of

responding to the “epidemic of [gun] violence that Defendants have created.”163 “If Defendants

used reasonable care,” the “trafficking of [their] guns into Mexico would be significantly

reduced or largely eliminated.”164 “And without the Defendants’ supply of crime guns, the less-

armed cartels could be controlled and stopped far more easily and effectively.”165

          Contrary to Defendants’ contentions, the chain of causation between their wrongful

conduct and the Government’s injuries is not too attenuated: Defendants supply their guns to

dealers that supply them to the cartels, inflicting massive injury on the Government.


          A.        The Complaint Plausibly Alleges Causation Sufficient to Confer Article III
                    Standing.

          “In this circuit, it is a bedrock proposition that a relatively small economic loss—even an

identifiable trifle—is enough to confer standing.”166 “‘At the pleading stage, general factual

allegations of injury resulting from the defendant’s conduct may suffice, for on a motion to

dismiss we presume that general allegations embrace those specific facts that are necessary to

support the claim.’”167 A plaintiff’s burden is “relatively modest at this stage of the litigation.”168

The court “takes all well-pleaded facts in the complaint as true and ‘indulges all reasonable



162
      Compl. ¶¶ 458-64.
163
      Compl. ¶ 447; see ¶¶ 448-74. The Government’s losses are alleged in detail in Compl. ¶ 448.
164
      Compl. ¶ 207.
165
      Compl. ¶ 478.
166
   Massachusetts v. U.S. Dep’t of Health and Human Services, 923 F. 3d 209, 222 (1st Cir.
2019) (cleaned up) (citing, inter alia, United States v. Students Challenging Regulatory Agency
Procedures, 412 U.S. 669 (1973) (“SCRAP”)).
167
   Bennett v. Spear, 520 U.S. 154, 168 (1997) (quoting Lujan v. Defenders of Wildlife, 504 U.S.
555, 561 (1992)) (other internal quote marks omitted; cleaned up).
168
      Id. at 171.


                                                  30
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 39 of 54




inferences’ in [plaintiffs’] favor to determine whether it plausibly pleaded facts necessary to

demonstrate standing to bring the action.”169 Except for “cases where the claim of impact is so

specious or patently implausible that a threshold standing objection might be appropriate, . . . the

likelihood and extent of impact are properly addressed in connection with the merits.”170

            Defendants challenge the Government’s standing solely on the ground that its injuries are

purportedly not “fairly traceable” to Defendants’ challenged conduct.171 But their “traceability”

argument is based on the erroneous premise that a plaintiff lacks standing when the defendant’s

conduct harms the plaintiff through a third party’s reaction. There is no such rule of law, and

their argument “is impossible to maintain.”172

            Holding that “indirectness of injury [is] not necessarily fatal to standing,”173 the Supreme

Court expressly rejected the argument that harm is not fairly traceable where “such harm

depends on the independent action of third parties.”174 And traceability may exist when the harm

depends on third parties “choosing to violate their legal duty.”175 All that is necessary is that




169
   Dantzler, Inc. v. Empresas Berrios Inventory and Operations, Inc., 958 F. 3d 38, 46-47 (1st
Cir. 2020).
170
      Save Our Heritage, Inc. v. F.A.A., 269 F.3d 49, 56 (1st Cir. 2001).
171
      Jnt. Mem. 6-10.
172
   Block v. Meese, 793 F.2d 1303, 1309 (D.C. Cir. 1986) (Scalia, J.) (explaining that “[i]f that
principle were true, it is difficult to see how libel actions or suits for inducing breach of contract
could be brought in federal court”).
173
   Simon v. E. Ky Welfare Rights Org., 426 U.S. 26, 44 (1976); see also id. at 45 n. 25 (“[i]n
SCRAP, although the injury was indirect and ‘the Court was asked to follow (an) attenuated line
of causation,’ the complaint nevertheless ‘alleged a specific and perceptible harm’ flowing from
the agency action” (quoting SCRAP, 412 U.S. at 688, 689)).
174
      Dept. of Commerce v. New York, 139 S. Ct. 2551, 2565 (2019).
175
      Id.


                                                     31
        Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 40 of 54




“third parties will likely react in predictable ways . . . even if they do so unlawfully.”176 It is

certainly predictable that the cartels will use Defendants’ guns to inflict the harm alleged.

        Defendants make much of the allegation that their guns constitute “only” 49.7% of crime

guns recovered in Mexico, and point to the millions of firearms in the hands of criminals that

they did not sell. But Defendants’ conduct need not be the sole cause of plaintiff’s injuries; their

conduct need only “contribute[] to [the Government’s] injuries.”177

        Defendants cite two pre-PLCAA cases in which courts found that local governments had

no “standing” to bring certain state-law claims,178 but those cases applied inapt standards.179


176
   Id. at 2566 (explaining that “‘Article III requires no more than de facto causality’” (quoting
Block, 793 F.2d at 1309)). In Massachusetts, the First Circuit held that a risk of fiscal injury
based on “‘rational economic assumptions’” and a confluence of multiple events is not
speculative. 923 F.3d at 223 (quoting Adams v. Watson, 10 F.3d 915, 923 (1st Cir. 1993)); see
also id. at 919-920; 922-923 (rejecting defendant’s assertion “that the sequence of economic
events … [wa]s too conclusory, speculative or attenuated,” even though the chain of causation
depended on numerous steps); Boston Alliance of Gay, Lesbian, Bisexual and Transgender Youth
(BAGLY) v. U.S. Dept. of Health and Human Services, No. 20-11297-PBS, 2021 WL 3667760
(D. Mass. Aug. 18, 2021) (health care provider had standing to challenge change in Affordable
Care Act rule based on third parties’ subjective fear of discrimination that would contribute to
increased demand for provider’s services).
177
   Massachusetts v. E.P.A., 549 U.S. 497, 523-25 (2007) (Massachusetts had standing to
challenge EPA’s refusal to regulate greenhouse gas emissions from new motor vehicles because
such emissions make a “meaningful contribution to greenhouse gas concentrations and hence . . .
to global warming” that injures Massachusetts, particularly as a coastal landowner). That the
Court elsewhere found standing where the conduct of a third party was “made possible only by
the challenged action of the defendant federal official,” Simon, 426 U.S. at 45 n. 25 (describing
Barlow v. Collins, 397 U.S. 159 (1970)), hardly casts doubt on the “contributes to” standard; the
Court found the link between that defendant’s action and the third party’s conduct to be a
sufficient contribution to causation, not a necessary one. See, e.g., Clean Water Action v. Searles
Auto Recycling Corp., 268 F. Supp 3d 276, 281 (D. Mass. 2017) (“fairly traceable” standard met
by showing conduct “causes or contributes to the kind of injuries alleged”).
178
  Jnt. Mem. 8, citing Ganim v. Smith & Wesson Corp., 780 A.2d 98 (Conn. 2001) and Camden
Cnty. Bd. of Chosen Freeholders v. Beretta U.S.A. Corp., 123 F. Supp. 2d 245 (D. N.J. 2000).
179
   See Ganim, 780 A.2d at 98, 118-131 (Conn. 2001) (not applying Article III, but Connecticut
law based on RICO proximate-cause standard); Camden Cnty. Bd. of Chosen Freeholders, 123
F. Supp. 2d at 256-264 (D. N.J. 2000) (applying “proximate cause approach” of six-factor
antitrust framework to causal-connection requirement).


                                                   32
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 41 of 54




Numerous other courts have rejected those courts’ reasoning and found that harms alleged to

governments from gun manufacturers’ supply of the criminal market are not too remote to

preclude standing.180


          B.      Defendants’ Proximate-Cause Arguments Are Meritless.

          Defendants’ causation arguments fare no better under the rubric of proximate cause.181

Their proximate cause arguments fail at the outset because the contours of the requirement

depend on the substantive law being applied.182 Here, the law that applies is Mexican law, about

which Defendants have nothing to say.183

          The applicable tort principle of Mexico is “adequate cause,” similar to “foreseeability”

under common law in U.S. states.184 It is a case-specific factual inquiry dependent on the

particular circumstances.185 Once the plaintiff makes an initial showing that the injury is causally


180
    See White v. Smith & Wesson, 97 F. Supp. 2d 816, 826 (N.D. Ohio 2000) (municipality had
Article III standing to bring negligence and nuisance claims); City of Boston v. Smith & Wesson
Corp., No. 199902590, 2000 WL 1473568, at *3, *4 & n.20 (Mass. Sup. Ct. July 13, 2000)
(standing under state law); City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136, 1147-
1149 (Ohio 2002) (agreeing with City of Boston and White over Ganim; harm to the city caused
by industry actors creating an illicit secondary firearms market was not too remote to preclude
recovery); City of Gary v. Smith & Wesson, 801 N.E.2d 1222, 1248 (Ind. 2003) (municipal
plaintiff met standing requirement akin to Article III “by alleging it was financially injured
through the sale and use of negligently distributed firearms and by alleging a nuisance within its
borders caused by the defendants”); cf. City and County of San Francisco v. Purdue Pharma
L.P., 491 F. Supp. 3d 610, 632 (N.D. Cal. 2020) (City satisfied traceability requirement with
allegations that “Walgreens’ oversupply of opioids and failure to report suspicious orders caused
third parties to act in a way that injured the City”).
181
      Jnt. Mem. 31-38.
182
     See, e.g., Forrestal v. Magendantz, 848 F.2d 303, 307 (1st Cir. 1988) (district court erred in
failing to apply proximate-cause standard of state law under which cause of action was brought).
183
      See supra Section I.
184
  Shadowen Dec., Ex. 2, Plaintiff’s First Expert Report on Tort Law of Mexico (“First Tort
Law Report”) ¶¶ 67-69.
185
      Id. ¶¶ 67-74.


                                                  33
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 42 of 54




related to the defendant’s negligence, the defendant has the burden to show that some

unforeseeable event broke the causal chain.186

          Ignoring the governing law of Mexico, Defendants rely principally on cases involving the

proximate cause rule under RICO,187 which is not even the standard under Massachusetts law,188

nor under the common law in the United States more generally.189 Moreover, the issue of

reasonable foreseeability—the central question of proximate cause under Mexican law,

Massachusetts law, and the common law—involves a “factual determination [that] should be

made by a [factfinder],”190 and is generally not appropriate for a motion to dismiss.191




186
      Id. ¶ 69.
187
      See Jnt. Mem. 31-32, 35
188
    See Doull v. Foster, 163 N.E. 3d 976, 983 (Mass. 2011) (standard for proximate cause under
Massachusetts means “that the harm must have been ‘within the scope of the foreseeable risk
arising from the negligent conduct.’” (citing Leavitt v. Brockton Hosp., Inc., 907 N.E. 2d 213,
219 (Mass. 2009)).
189
    See James v. Arms Technology, Inc., 820 A. 2d 27, 38 (N.J. Super. 2003) (federal
antitrust/RICO causation standard applied in Steamfitters, City of Philadelphia, and Ganim “does
not fit squarely in a case . . . involving application of traditional tort concepts under New Jersey
law”); City of Chicago v. Purdue Pharma L.P., No. 14 CV 4361, 2021 WL 1208971, at *13
(N.D. Ill. Mar. 31, 2021) (“Whatever federal courts have said about proximate cause in the
context of federal statutes such as [RICO]. . . plaintiff’s claims in this case are governed by
Illinois law” under which “foreseeability is the touchstone of the legal-cause analysis.”) (cleaned
up).
190
   Davis v. Protection One Alarm Monitoring, Inc., 456 F. Supp. 2d 243, 253 (D. Mass. 2006)
(Saylor, J.) (citing Solimene v. Gravel, 507 N.E. 2d 662 (Mass. 1987) quoting Restatement
(Second) of Torts §453 cmt b).
191
    See Szulik v. State Street Bank and Trust Co., 935 F. Supp. 2d 240, 268 (D. Mass. 2013)
(“‘The question of proximate cause is a question of fact, and this court will not base a motion to
dismiss upon such an issue.’” (quoting Curran v. City of Boston, 777 F. Supp. 116, 123 (D.
Mass. 1991)). Defendants cite Jane Doe No. 1 v. Backpage.com, LLC, 817 F.3d 12, 24 (1st Cir.
2016), but that case is easily distinguishable because the complaint utterly lacked plausible
allegations of foreseeable harm; rather the “causal chain is shot through with conjecture: it
pyramids speculative inference upon speculative inference” and “is forged entirely out of
surmise” and “conclusory statements.” Id. at 25.


                                                 34
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 43 of 54




          1. The Number of Steps in the Causal Chain Does Not Preclude Proximate Cause.

          Defendants argue that there are too many steps in the causal chain to satisfy proximate

cause.192 But under the law of Mexico and Massachusetts, what counts is not the number of steps

in the abstract, but whether the Government’s injuries were a foreseeable result of Defendants’

misconduct.193 Moreover, the chain of causation does not involve eight steps, as Defendants

assert, but closer to three: (1) Defendants sell guns through their distribution systems to retail

dealers; (2) their dealers sell the weapons to gun traffickers and cartels; and (3) cartels use the

weapons to cause the Government harm.

          Defendants are wrong in asserting that no case has ever found proximate cause on facts

like these.194 Many have. Ileto, for one, allowed liability claims against gun manufacturers and

distributors for facilitating interstate trafficking of a gun, which was repeatedly transferred

among several lawful possessors and multiple criminals and then intentionally misused in a hate

crime.195 The court held that these links “[we]re not too attenuated;” the circulation of a gun

among bad actors and its unlawful use are foreseeable consequences of unreasonable business




192
      Jnt. Mem. 32-33.
193
    See, e.g., First Tort Law Report ¶ 74; Com. v. Carlson, 447 Mass. 79, 84 (2006) (“The
general rule is that intervening conduct of a third party will relieve a defendant of culpability for
antecedent negligence only if such an intervening response was not reasonably foreseeable.”);
see also id. (“The foreseeability of the harm is the ‘most crucial factor’ justifying liability.”)
(internal quotations and citations omitted).
194
      Jnt. Mem. 34.
195
      See 349 F.3d at 1196-98, 1197 n. 7.


                                                  35
            Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 44 of 54




practices that create and fuel an illegal gun market.196 City of Boston, City of Cincinnati, and City

of Gary illustrate that this rule applies where a governmental entity is harmed.197


                   2.      Foreseeable Criminal Acts Are Not a Superseding Cause.

            Defendants wrongly assert that the intervening criminal act of a third party is a “textbook

superseding cause.”198 But the law of Mexico provides that criminal conduct is not a superseding

cause if it is a foreseeable result of the defendant’s wrongful conduct.199 Indeed, failing to guard

against foreseeable criminal conduct can add to the negligence rather than excuse it.200 The same




196
      See id. at 1196-98, 1204-09.
197
    See supra n. 180; see also James, 820 A.2d at 39 (declining to dismiss complaint on
proximate cause grounds notwithstanding “multiple links between defendants’ conduct and the
ultimate harm suffered by the City”); cf. City of Chicago v. Purdue Pharma L.P., No. 14 CV
4361, 2021 WL 1208971, at *11-13 (N.D. Ill. Mar. 31, 2021) (discussing and following opioid
cases finding proximate cause where manufacturers’ negligent distribution of opioids allegedly
caused “significant knock-on effects” that increased the cost of city services). Several of
Defendants’ contrary authorities (Jnt. Mem. 34) are also inapposite because they did not involve
(or the court failed to sufficiently credit) allegations of a pattern of unlawful conduct involving
manufacturers aiding and abetting or conspiring with corrupt downstream dealers to violate
firearms laws in order to supply criminal third parties. See People v. Sturm, Ruger & Co., 309
A.D.2d 91, 103 (N.Y. App. Div. 2003) (citing to “defendants’ lawful commercial activity”)
(emphasis added); Camden County Bd. of Chosen Freeholders, 123 F. Supp. 2d at 258 n. 8
(“plaintiff has not alleged that defendants engaged in a conspiracy”). Here the complaint alleges
that Defendants aided or conspired with downstream parties to engage in unlawful commercial
activity directed at supplying the criminal market. See, e.g., Compl. ¶¶ 106-114.
198
   J. Mem. 33. Defendants inaccurately contend that PLCAA imposes a proximate cause
requirement above and beyond that recognized at common law, requiring the Government to link
“specific statutory violation[s] to . . . specific injuries.” Id. at 23. Not so. City of Gary noted that
the gun manufacturers had created an illicit firearms market that led to an increase in violent
crime, and expressly rejected defendants’ argument that “the City was required to allege a
specific statutory violation” to satisfy PLCAA. See 126 N.E.3d 813, 834 (internal quotation
omitted).
199
      First Tort Law Report ¶ 73.
200
      Id.


                                                    36
        Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 45 of 54




rule is recognized by the Restatement (Second) of Torts201 and the First Circuit case that

Defendants cite.202 Under Massachusetts law, “liability will be imposed where the actor realized,

or should have realized, the likelihood that . . . a situation [which afforded an opportunity to the

third person to commit such a tort or crime] might be created, and that a third person might avail

himself of the opportunity to commit a crime.”203 Hence, City of Boston held that Defendants’

superseding cause argument “fails in Massachusetts if the third person’s acts could have been

foreseen, which is what Plaintiffs allege.”204 Similarly, foreseeable criminal misconduct was no

bar to proximate cause in Ileto, City of Cincinnati, and City of Gary.205


201
   Restatement (Second) of Torts § 448 (criminal act of a third party is not a superseding cause
where “the [initial] actor at the time of his negligent conduct realized or should have realized the
likelihood that such a situation might be created . . . that a third person might avail himself of the
opportunity to commit . . . a tort or crime”).
202
   See Davis v. United States, 670 F. 3d 48, 56 (1st Cir. 2012) (upholding negligence liability of
FBI agents for harm resulting from murders committed by informant where defendants’ reckless
conduct made the outcome “eminently predictable”); see also Dobbs, supra, § 190, at 472
(“Today’s courts usually recognize that foreseeability, in the nature of things, is fact-specific, so
they now often permit juries to find that a criminal act was foreseeable and not a superseding
cause.”). That “beer companies know that minors drink, but none of this knowledge makes those
companies liable for resulting harms,” Jnt. Mem. 31, does not mean that a beer company that
distributes alcohol to dealers that it knows illegally sell to minors can escape liability for the
foreseeable harm. Cf. Tobin v. Norwood Country Club, Inc., 661 N.E.2d 627, 632 (Mass. 1996)
(“Where a commercial establishment [sells] alcohol to a minor . . . we [do] not hesitate to impose
a duty of care flowing to the public”).
203
   Davis v. Protection One, 456 F. Supp. 2d at 254; accord Restatement (Second) of Torts §
448; see also Jupin v. Kask, 849 N.E. 2d 829, 836 (Mass. 2006) (“‘an act or omission may be
negligent if the actor realizes or should realize that it involves an unreasonable risk of harm to
another through the conduct of the other or a third person which is intended to cause harm,’ . . .
‘even though such conduct is criminal’” (quoting Restatement (Second) of Torts § 302B)).
204
   City of Boston, 2000 WL 1473568, at *15 n.65. Defendants are simply wrong that the only
exception “is when a defendant itself directly exposes a plaintiff to the risk of immediate
criminal danger,” Jnt. Mem. 33, as the cases discussed above demonstrate.
205
    See also San Francisco, 491 F. Supp. 3d at 681 (“the intervening acts—including decisions
by prescribers, patients, distributors, pharmacies, and third-party criminals—are reasonably
foreseeable, and thus not superseding acts”). Nor does the criminal misuse of a gun bar a product
liability action for defective design. Jnt. Mem. at 24-25. The court in City of Boston and the



                                                 37
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 46 of 54




                 3.      The Government’s Injuries Are Not Solely “Derivative.”

          Nor are the Government’s injuries too remote because they are “derivative” of the harm

to its citizens.206 Mexican tort law does not recognize any such restriction on the Government’s

right to recover.207 And City of Boston considered and rejected essentially the same argument

under U.S. law:

             This alleged harm is in large part not “wholly derivative of” or “purely
             contingent on” harm to third parties. . . [H]arm to Plaintiffs may exist even if
             no third party is harmed. . . . Even if no individual is harmed, Plaintiffs sustain
             many of the damages they allege due to the alleged conduct of Defendants
             fueling an illicit market (e.g., costs for law enforcement, increased security,
             prison expenses and youth intervention services). Similarly, diminished tax
             revenues and lower property values may harm Plaintiffs separately from any
             harm inflicted on individuals. Plaintiffs’ harm is in essence the type of harm
             typically suffered by [governments] due to public nuisances. Indeed, much of
             the harm alleged is of a type that can only be suffered by these plaintiffs.208

          The same logic applies here.209 The Government incurs many increased costs to fight gun

violence—for example, increased expenses for law enforcement and security—to protect its



Supreme Courts of Ohio and Indiana rejected this position, either explicitly or implicitly. See
2000 WL 1473568 (allowing breach of warranty action for defective design); City of Cincinnati,
768 N.E.2d at 1145-47 (allowing product liability claim despite intervening criminal misuse);
City of Gary, 801 N.E.2d at 1247-48 (similar); see also Goldstein, No. 37-2020-00016638-CU-
PO-CTL (Ca. Super. Ct. Jul. 2, 2021) (allowing product liability claim for firearm used in hate
crime).
206
      Jnt. Mem. 35-37.
207
      First Tort Law Report ¶¶ 69-74.
208
    2000 WL 1473568, at *6. Other courts have reached the same conclusion as City of Boston.
See City of Cincinnati, 768 N.E. 2d at 1147-49; James, 820 A.2d at 41 (cost of governmental
services in responding to increased gun crime not derivative); see also City of Boston v. Purdue
Pharm, L.P., No. 1884CV02860, 2020 WL 977056, at *4 (Mass. Super. Jan. 29, 2020) (rejecting
defendant’s causation argument that “harms the Cities allegedly suffered [responding to the
opioid epidemic] are wholly derivative of the personal injuries of the individual opioid users”)
(internal quote marks omitted).
209
    The Government does not concede the absence of parens patriae standing; the paragraph that
Defendants cite expressly preserves the Government’s right “to bring these and similar claims as
parens patriae on behalf of its citizens.” Compl. ¶ 30, cited by Jnt. Mem. 36.


                                                   38
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 47 of 54




citizens from additional future harms. And the death of and injury to Government police and

military and the destruction of government property is not “derivative” of citizens’ harm.210


          C.     The Question of How to Apportion Damages Is Not Grounds for Dismissal.

          Defendants wrongly assert that the potential difficulty of apportioning damages merits

dismissal.211 The law of Mexico does not recognize such alleged potential difficulty as the basis

for dismissal.212

          And applying U.S. law, City of Boston denied a motion to dismiss on similar grounds,

holding that “[t]he difficulty in ascertaining damages in this case is best assessed when the case

has gone beyond the pleading stage.”213 The burden is not on the Government to explain, at the

pleading stage, how to apportion liability between the Defendants and others who potentially

share their culpability.214 It will be Defendants’ burden to prove that some share of the blame

should be allocated to others.215 The issue will be fought out later, after discovery.216



210
   Defendants’ argument against the Government’s damages associated with the death and
injury of its police and military is based on Ganim and City of Philadelphia, neither of which
discusses the issue and both of which apply a RICO proximate-cause standard. Another of
Defendants’ cases merely declined, on separation-of-powers grounds, to create a federal
common law claim for the government to recover the medical costs of its employees. See United
States v. Standard Oil of Cal., 332 U.S. 301 (1947).
211
      Jnt. Mem. at 37-38 (citing RICO standard).
212
      First Tort Law Report ¶¶ 75-79.
213
      City of Boston, 2000 WL 1473568, at *7 n. 33.
214
   See generally Restatement (Second) of Torts § 433B (burden of proof on apportionment of
joint harm is on defendants).
215
   See, e.g., Rhode Island v. Atlantic Richfield Co., 357 F. Supp. 3d 129, 137-41 (D.R.I. 2013)
(denying motion to dismiss for failure to plead causation among tortfeasors; applying
Restatement rule under Rhode Island law).
216
   Defendants’ citation to Sterling Suffolk Racecourse, LLC v. Wynn Resorts, Ltd., 990 F.3d 31,
36 (1st Cir. 2021), is inapposite because it involves proximate cause under RICO and was not
even referring to apportionment of liability among wrongdoers.


                                                   39
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 48 of 54




          Whether damages will need to be apportioned between the Government and other victims

is not a relevant proximate-cause consideration under Massachusetts or common law.217 Nor is it

appropriate to consider on a motion to dismiss.218 There is no real issue here; the Government is

seeking to recover for independent harms for which only it can recover.219 And the requested

injunctive relief is not subject to apportionment.220


V.        THE COMPLAINT ADEQUATELY ALLEGES THAT DEFENDANTS
          VIOLATED A LEGAL DUTY TO MEXICO.

          Defendants assert that they have no duty to protect the Government from criminal misuse

of guns in Mexico.221 But their argument misstates the Government’s Complaint, which does not

allege any such duty. Instead, the Complaint alleges that Defendants failed to use reasonable

care, and adhere to statutes, by unlawfully and recklessly selling and distributing their guns.

Under the tort law of Mexico, as well as under general common law principles, all persons owe a

duty to avoid affirmative conduct that foreseeably increases the risk of harm to others.222

          City of Boston recognized this distinction in refusing to dismiss similar claims against

gun manufacturers for fueling an illegal secondary market. The court concluded that “Plaintiffs

do not allege that Defendants were negligent for failure to protect from harm but that Defendants

engaged in conduct the foreseeable result of which was to cause harm to Plaintiffs;” and


217
   See Doull, 163 N.E. 3d at 983; see also Lexmark, 572 U.S. at 135 (“potential difficulty in
ascertaining and apportioning damages is not . . . an independent basis for denying standing
where it is adequately alleged that a defendant’s conduct has proximately injured an interest of
the plaintiff’s that the statute protects”) (emphasis omitted).
218
      City of Boston, 2000 WL 1473568, at *7 n. 33.
219
      See id. at *6 and cases cited supra n. 208.
220
      See Compl. Demand for Judgment.
221
      Jnt. Mem. 39-40.
222
      First Tort Law Report ¶¶ 25, 34-36, 67-69.


                                                    40
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 49 of 54




defendants’ “fail[ure] to exercise adequate control over the distribution of their firearms”

breached their duty to avoid “affirmative acts that unreasonably expose others to a risk of

harm.”223

          Defendants do not even attempt to distinguish this Massachusetts authority.224 They

inaccurately label City of Boston an erroneous “outlier.”225 Not so. The Supreme Court of Ohio

echoed City of Boston in reversing dismissal of claims against gun manufacturers and found that

“the negligence issue before us is not whether appellees owe appellant a duty to control the

conduct of third parties. Instead, the issue is whether appellees are themselves negligent by

manufacturing, marketing, and distributing firearms in a way that creates an illegal firearms

market that results in foreseeable injury.”226 Similarly, the Supreme Court of Indiana, allowing

claims similar to the Government’s, observed that each firearms industry defendant “is a

custodian and owner of the weapon at the times that defendant possesses it in the chain of




223
      City of Boston, 2000 WL 1473568, at *15.
224
   Defendants’ reliance on tobacco cases brought by foreign governments is misplaced because
they were decided on the basis that the governments’ efforts to recover the medical costs of
treating smokers by direct action rather by subrogation would “strip the defendants of defenses
which would otherwise be available to them.” State of Sao Paulo of Federative Republic of
Brazil v. American Tobacco Co., 919 A.2d 1116, 1123 (Del. 2007); see Republic of Venezuela v.
Philip Morris Cos., 827 So. 2d 339, 341 (Fla. Dist. Ct. App. 2002) (same basis); SEIU Health &
Welfare Fund, 249 F.3d at 1070, 1073, 1074, 1076 (referring repeatedly to this point). And
Carney v. Bereault, 204 N.E. 2d 448, 452 (Mass. 1965), is inapt (Jnt. Mem. 39); the referenced
quote involved a failure of proof of causation at trial due the length of time between manufacture
and injury “where the thing in question is subject to change by wear or crystallization or
deterioration or neglect or unskillful repair or improper handling.”
225
      Jnt. Mem. 42.
226
      City of Cincinnati, 768 N.E.2d at 1144.


                                                 41
           Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 50 of 54




distribution” and has a duty “to act reasonably to avoid injury to anyone, including [a municipal

entity], who is reasonably foreseeably harmed.”227

          Defendants cite contrary cases, but they are at odds with the judicial consensus.228 City of

Boston follows the better-reasoned approach of the Supreme Courts of Indiana and Ohio.


VI.       THE COMPLAINT ADEQUATELY ALLEGES THAT DEFENDANTS
          CREATED A PUBLIC NUISANCE.

          Defendants assert that the public-nuisance doctrine does not apply to marketing and

distributing products that are themselves lawful.229 The law of Mexico allows such claims.230

          Courts applying Massachusetts and other U.S. law agree that recklessly supplying a

dangerous product may constitute a public nuisance, even if that product itself is not outlawed.

City of Boston found that “alleg[ations that] Defendants intentionally and negligently created and

maintained an illegal, secondary firearms market” (along with supporting allegations) were

“sufficient . . . to state a claim for public nuisance.”231 These allegations mirror those in the




227
   City of Gary, 801 N.E.2d at 1242. Cf. In re National Prescription Opiate Litig., MDL No.
2804, 2018 WL 6628898, at *19 (N.D. Ohio Dec. 19, 2018) (finding common law duty where
plaintiffs alleged that defendants, “by failing to administer responsible distribution practices
(many required by law)” “not only failed to prevent diversion, but affirmatively [and
foreseeably] created an illegal, secondary opioid market” and that it was “foreseeable that local
governments will be responsible for combatting the creation of that market and mitigating its
effects”).
228
   See Jnt. Mem. 2 & n. 1 (citing, e.g., Ganim v. Smith & Wesson Corp., 780 A.2d 98 (Conn.
2001)).
229
      Id. at 3, 40.
230
   The tort law of Mexico treats the fact pattern of what is known in the U.S. as “public
nuisance” under the general principles of negligence. First Tort Law Report ¶¶ 85-90. Those
principles do not exclude the misuse of lawful products to cause injury. Id.
231
      2000 WL 1473568, at *14.


                                                   42
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 51 of 54




Complaint.232 As with the issue of duty, other courts, including, again, the Supreme Courts of

Ohio and Indiana, have followed City of Boston as to nuisance.233

          Defendants erroneously contend that Jupin v. Kask234 conflicts with City of Boston.235 It

does not. Jupin merely concluded that the unsafe storage of a single firearm later stolen and used

in a murder was not a public nuisance.236 Actively supplying criminals with firearms is “far more

egregious” and is akin to the public nuisance claims that courts have upheld. Indeed, in the

Massachusetts opioid case, the court recognized that Jupin was quite a different case, holding

that the cities’ allegation that the distributor defendants “knowingly supplied an illicit opioid

market over the course of years” was more like City of Boston than Jupin and therefore sufficient

to state a nuisance claim.237


VII.      DEFENDANTS’ PROFFERED PRINCIPLES OF INTERNATIONAL AND
          CONSTITUTIONAL LAW DO NOT BAR THE GOVERNMENT’S CLAIMS.

          Defendants offer a hodge-podge of purported principles of international law and

constitutional law to support their motion. The principles do not exist, do not apply, or both.




232
      See, e.g., Compl. ¶¶ 109-14, 118-24, 208-09, 227-77, 377-84, 434-505, 551-54.
233
   See City of Cincinnati, 768 N.E.2d at 1141-1144; City of Gary, 801 N.E.2d at 1234-35; see
also In re: Juul Labs, Inc., Marketing Sales Practices, and Products Liability Litig., 497 F. Supp.
3d. 552 (N.D. Cal. 2020) (holding that public entities stated claims for RICO, public nuisance,
and negligence under various states’ laws to recover costs incurred in responding to the youth e-
cigarette crisis allegedly caused by defendants’ marketing of e-cigarettes towards youth).
234
      849 N.E.2d 829 (Mass. 2006).
235
      See Jnt. Mem. 42.
236
      849 N.E.2d. at 843-44.
237
   City of Boston v. Purdue, 2020 WL 977056, at *5; see also Evans v. Lorillard Tobacco Co.,
No. CIV. A. 04-2840A 2007 WL 796175, at *18-19 (Mass. Sup. Ct. Feb. 7, 2007) (public
nuisance claim against tobacco manufacturers allowed).


                                                  43
          Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 52 of 54




          Defendants boldly assert that “international law” bars the Government’s claims. But they

never identify any such law—none exists. Instead, international law upholds “a state’s

jurisdiction to prescribe law with respect to conduct that has a substantial effect within its

territory.”238

          Defendants invoke “international comity,”239 but that is a doctrine by which a sovereign,

pursuant to its own domestic law, gives to another sovereign deference that international law

does not require.240 No such principle requires the Government to forgo claims under its own law

for injuries that Defendants foreseeably and systematically impose on it in Mexico.

          Lastly, the Second Amendment does not confer a right on Defendants to recklessly sell,

market, or design guns, especially assault weapons, and to facilitate trafficking them outside the

United States.241 And it does not confer on any person, inside or outside the United States, a right

to participate with Defendants in that conduct.




238
   Restatement (Fourth) of the Foreign Relations Law of the United States § 409 (2018); see
also Hartford Fire Ins. Co. v. California, 509 U.S. 764, 796 (1993) (Sherman Act properly
applies to conduct abroad “that was meant to produce and did in fact produce some substantial
effect in the United States”).
239
      Jnt. Mem. 42.
240
   See, e.g., William S. Dodge, International Comity in American Law, 115 Colum. L. Rev.
2071, 2121 (2015).
241
   District of Columbia v. Heller, 554 U.S. 570, 595 (2008), made clear that the “Second
Amendment . . . [i]s not unlimited.” See also id. at 626-27, 627 n.6 (noting, among other
limitations, the permissible “conditions and qualifications on the commercial sale of arms”);
United States v. Greeno, 679 F.3d 510, 520 (6th Cir. 2012) (“Consistent with the historical
understanding of the right to keep and bear arms, several courts, including the Supreme Court
in Heller, have recognized that the right to keep and bear arms is for lawful purposes.”)
(emphasis in original); Kolbe v. Hogan, 849 F.3d 114, 135 (4th Cir. 2017) (en banc) (assault
weapons not protected).



                                                  44
        Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 53 of 54




                                         CONCLUSION

        For the reasons stated above, the Court should deny Defendants’ joint motion to dismiss

in its entirety.



                                 REQUEST FOR ORAL ARGUMENT

               Pursuant to Local Rule 7.1(d), Plaintiff hereby requests oral argument.



        Dated: January 31, 2022                       Respectfully submitted,

                                                      /s/ Steve D. Shadowen
                                                      Steve D. Shadowen (pro hac vice)
                                                      Richard M. Brunell (BBO# 544236)
                                                      Nicholas W. Shadowen (pro hac vice)
                                                      SHADOWEN PLLC
                                                      1135 W. 6th Street, Suite 125
                                                      Austin, TX 78703
                                                      Phone: 855-344-3298
                                                      sshadowen@shadowenpllc.com
                                                      rbrunell@shadowenpllc.com
                                                      nshadowen@shadowenpllc.com

                                                      /s/ Jonathan E. Lowy
                                                      Jonathan E. Lowy (pro hac vice)
                                                      BRADY
                                                      840 First Street, N.E. Suite 400
                                                      Washington, DC 20002
                                                      Phone: 202-370-8104
                                                      jlowy@bradyunited.org




                                                 45
       Case 1:21-cv-11269-FDS Document 111 Filed 01/31/22 Page 54 of 54




                                 CERTIFICATE OF SERVICE

       I, Steve D. Shadowen, hereby certify that this document was filed with the Clerk of the

Court via CM/ECF. Those attorneys who are registered with the Court’s electronic filing

systems may access this filing through the Court’s CM/ECF system, and notice of this filing will

be sent to these parties by operation of the Court’s electronic filings system.



Dated: January 31, 2022                               Respectfully Submitted,


                                                      /s/ Steve D. Shadowen
                                                      Steve D. Shadowen

                                                      .




                                                 46
